Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23   Page 1 of 41 PageID 8603


                               EXHIBIT 3




                                                                 Appx. 00022
      Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                                            Page 2 of 41 PageID 8604
FILED: NEW
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                COUNTY CLERK
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK: COMMERCIAL DIVISION PART 60


         ------.----... -----------.-------..--------.... ---------...---------------------.--x

           UBS SECURITIES LLC and UBS AG, LONDON BRANCH,                                                      INDEX NO.          650097/2009



                                                           Plaintiff, .



                                                    • v-

          HIGHLAND CAPITAL MANAGEMENT, L.P., HIGHLAND
          SPECIAL OPPORTUNITIES HOLDING COMPANY,
          HIGHLAND CDO OPPORTUNITY MASTER FUND, L.P.,
          HIGHLAND FINANCIAL PARTNERS, L.P., HIGHLAND
          CREDIT STRATEGIES MASTER FUND, L.P., HIGHLAND                                                       DECISioN    AND ORDER AFTER
          CRUSADER OFFSHORE PARTNERS, L.P.; HIGHLAND                                                                       TRIAL
          CREDIT OPPORTUNITIES CDO, L.P., STRAND ADVISORS,
          INC.,



                                                        Defendant.


        --••------ ••------- -••----- --- ••• -- -- '-- -••------- •••• --- ------- ----- •••• --.------- X




                   This action arises out of a failed restructured transaction between plaintiffs VBS

        Securities LLC and VBS AG, London Branch (collectively, VBS) and defendants Highland

        CDO Opportunity Master Fund, L.P. (CDO Fund) and Highland Special Opportunities Holdirig

        Compan'y (SOHC) (together, the Fund Counterparties), and defendant Highland Capital

       Management, L..P. (Highland Capital) (together with the Fund Counterparties, Highland), for the

       securitization of collateralized loan obligations. (CLOs) and credit default' swaps (CDSs).

                  The court conducted a bench trial from July 9 through July 27, 2018 on plaintiffs' third

       and fourth causes of action in the second amended complaint for breach of contract, and on

       defendant Highland Capital's first and second counterclaims against plaintiffVBS                                         Securities



                               "
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                                                                                                                                      Appx. 00023
      Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                    Page 3 of 41 PageID 8605
FILED: NEW
FILED: NEW YORK
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NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                                  RECEIVED NYSCEF:
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                                                                                                                      11/14/2019



         LLC for.breach of contract and unjust enrichment, respectively.              I   Based on the credible evidence

        . at trial, the court now makes the following determination as to the breach of contract cau,ses of

         action and counterclaims.2

                  In April and May 2007, the parties agreed to pursue a collateralized debt obligati9ns

         transaction governed by an Engagement Letter, a Synthetic Warehouse Agreement for cbSs,

         and a Warehouse Agreement for CLOs (Original Agreements). (DX 4, DX 5, DX 6.)3 !tis
                                                                                                                      I
        undisputed that UBS acted as the "financial arranger" for the transaction and was responsible for
                                                                                                                  .   ,,
        financing the acquisition of assets, which would then be held in portfolios, which the parties
                                                                                                                      I
        refer to as the Cash Warehouse and the Synthetic Warehouse or collectively as the Knox i

        Warehouse. (ps. 's Findings, ~ 4; Ds.'s Findings, ~ 5.)4 Highland Capital acted as the "Servicer"

        and was responsible for identifying the specific CLOs to be securitized and the Reference                      i
        Obligations for the CDSs to be securitized. (Ps.'s Findings, ~~ 3, 4; Ds.'s Findings, ~~ 6, 8.)

                 In furtherance of the transaction, UBS acquired assets with a notional value of $818
                                                                                                                           1
        million. (Ps. 's Findings, ~.6; Ds. 's Findings, ~ 5.) There were 33 CLO tranches in the Cas,h
                                                                                                                           I
        Warehouse, with a notional value of $174 million. UBS paid $170 or $170.5 million to acquire
                                                                                                                           I'

        the CLOs because ihe bonds were purchased at a slight discount on their par value. (Ds.'                           1




        Findings, ~ 6; PS.'s Findings, ~ 6.) The Synthetic Warehouse contained 87 credit default swaps,
                                                                                                                               1




         ..                                                    •                                                               1

         I By decision on the record on May 1,2018 (NYSCEF Doc. No. 494), the court bifurcated the trial. The decision
        held that the breach of contract claims, which were to be heard by the court, would be determined prior to c1aiins,
        including fraudulent conveyance claims, which were to be heard by a jury.
       , At the trial, the parties agreed to the submission of extensive evidence, subject to standing objections. This
       decision is not based on such evidence, unless the decision expressly states-otherwise.
       3 Defendants' and plaintiffs' trial exhibits will be referred to as DX _ and PX ~ respectively. The parties'
       demonstrative exhibits will be referred to as DX Demo. and PX Demo.
       4 The Fund Counterparties'     and Highland Capital Manag-;;ment, L.P.'s Proposed Findings of Fact and Conclusions of
       Law will be referred to as Ds.'s Findings. P'laintiffs' Proposed Findings of Fact and Conclusions.ofLaw will tie
       referred to as Ps.:s Findings. Defendants' Findings are all identified by paragraph number. Plaintiffs' Findings of
       Fact are identified by paragraph 'number, while their Findings of Law are identified only by page number.        :
                                                                                                                                   "I

                                                                   2


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                                                                                                                 Appx. 00024
      Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                      Page 4 of 41 PageID 8606
FILED: NEW
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NYSCEF DOC. NO.
            NO. 650
                641                                                                                    RECEIVED NYSCEF:
                                                                                                       RECEIVED NYSCEF: 09/14/2020
                                                                                                                        11/14/2019



         with a notional value of $644 million. (Os.'s Findings, ~ 7; PS.'s Findings, '16.). UBSs~rved as.
                                                                                          .                            I
         the protection seller on all of the COSs. (Pso's Findings, ~ 4; Oso's Findings,~ 8.) For five of

         the COSs, with a notional value of $45 million, Lehman Brothers Special Financing, Inc.1
                                                                          .                                             i
         (Lehman) acted as the protection buyer (Lehman Swaps). (Pso's Findings, ~ 8; Oso's Findings, ~
                                                                                                                        I,
                    5
        . 9; PX 755   ,   at I.) For 20 of the COSs, with a notional value of$124 million, UBS acted as both
                                       .                                                                           . I
         protection seller and protection buyer (the Internal Swaps). (Os.'s Findings, ~ ,\ 0; Ps.'s Findings,
                                                                                                                        :
         ~ 9; PX 755, at 4-5.)

                 The Original Agreements expired by their terms on August 15,2007.                      (PX \, at \.) The
                                                                                                                            !
         parties agreed to restructure the transaction, signing a new Engagement Letter, the 2008 Cash
                                                                                                                             I

         Warehouse Agreement (CWA), and the 2008 Synthetic Warehouse Agreement (SWA), as of
                                                                                                                             I
        March \4,2008.           (See PX \, PX 2, PX 3.) As of March 14,2008, the Knox assets had los~
           •                 .                                                                                                   I


        significant value and the parties agreed that, given the market conditions existing as ofthe'date
                                                                                                                                 I,
        of the restructured transaction, it was not then feasible to sell the securities and close the

        transaction. (Pso's Findings, ~ 20; 2008 Engagement Letter [PX \, at 8).)
                                                                                                                                  I           •

                As discussed further below, the Synthetic Warehouse Agreement providedfor the rpll-

        over of the E~isting Credit Default Swaps and the Existing Collateral Portfolio into the

        warehouses created under.the 2008 restructured transaction. (See SW A, Whereas Clause 5.)
                                                                                                                                      ,


        Secti.on \2 of the Synthetic Warehouse Agreement provided that the Fund Counterparties ~ould
                                                                                                   I
        transfer additional cash and securities "to secure its obligations to UBS" under the SWA and the
                                                                                                                                          I
        CW A. In particular, this Section required the Fund Counterparties to make an Initial Oepo~it of
                                                                                                                                          I
        $20 million in cash and approximately $54 million in Eligible Securities on the date of the
                                                                                                                                                   I
                                                                                                                                                  . ~
                                                                                                                                                   ,l

                                                                                                                                                   ,I
                                                                                                                                                   1
       5 PX 755 is a document that that was jointly prepared by plaintiffs' and defendants' counsel so that specific
       information regarding the Knox Warehouse assets could be found in one place. (Trial Tr. at 858.)

                                                                 3


                                                                3 of 40

                                                                                                                       Appx. 00025
      Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                       Page 5 of 41 PageID 8607
FILED: NEW
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NYSCEF DOC. NO.
            NO. 650
                641                                                                                      RECEIVED NYSCEF:
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         execution of the SWA. (Id.,         S   12 [A].) The SWA contained a collateral call provision under

         which UBS was required to track its CDS and Cash Exposure to losses, as defined under! the .

         Agreement, on a semi-monthly basis, and the Fund Counterparties were required to depdsit an

         additional $10 million in collateral (cash and/or Eligible Securities) for every $100 milliAn .

         increase in the defined Deposit Threshold Exposure Amount. (Id.,                    SS   12'(B], [C].)        I
                  It is undisputed that, pursuant to Section 12 (C) of the SWA, UBS made a first collateral
                                                  . .'                   ..                                             I.
        calI"for $10 million on September 17,2008 (PX 4), and a sec~nd coliateral call for $10 million

        on October 21, 2008 (PX 5), both of which w~re satisfied by the Fund Count~rparties.                         I '.
        (Testimony of Keith Grimaldi, FormerHead ofUBS's                      COO Secondary Trading
                                                                                                                     I
                                                                                                             Desk, Trial

        Transcript (Tr:) at 81, 112, 119.)

                 On November 7, 2008, UBS issued the third, and final, collateral call to the Fund

        Counterparties for an additional $10 million. (PX              6?     It is undisputed that the Fund            \.        .

        COllTIterpartiesdid not meet this collateral call. (Ds.'s Findings, ~ 17; Ps.'s Findings, ~~ 43-47)6


           . .                                                                         .                                I
                  On December ~; 2008, UBS sent a notice to Highland stating that, to date, no deplsits

        have been made in response to the November collateral call, and that "a Termination Date 'has

        occurred under' the Warehouse Agreements and a termination daie has occurred under the

        Engagement Letter." (PX 7; PX'9.) The notice furt1)er stated that "UBS is forbearing fro4

        exercising its remedies [under the Agreements] for a period of two Business Days from the!date

        hereof in order to permit [the Fund Counterparties] to pay the Additional Deposits by 5 pm New
                                                                                                                           I .
        York time on December 5, 2008.'" (Id.) On December 5,2008, UBS sent an addjtional notice to


                                                                                                                                  )


       6 It is undisputed that the Fund Counterparties offered to post CLO assets to satisfy the third collateral call and that
       UBS did not accept that collateral. UBS's Keith Grimaldi testified that UBS.rejected the CLOs because "at thlat
       time the marketplace was declining and declining rapidly. We thought there would be more declines, so we            I
                                                                                                                          ,
       collectively made a decision that we wanted cash or government securities :.. that would be easily liquid and ieflect
       bener value." (Trial Tr. at 122.) Defendants stipulated that UBS had the right to insist on c~sh. (See Statement of
       Andrew Crncian; [Os. 's Any.], Trial Tr. at 1736.) .

                                                                  4


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                                                                                                                      Appx. 00026
      Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                   Page 6 of 41 PageID 8608
FILED: NEW
FILED: NEW YORK
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NYSCEF DOC. NO.
            NO. 650
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            Highland stating that iheAdditional      Deposit has not been made, and that "[c]onsequently, VBS

            will proceed to exercise the rights and remedies avairable to it under the Warehouse Agreements,

            the Engagement Letter, at law and otherwise." (PX 8.)

                    THIRD COLLATERAL CALL

                    As a threshold matter, the parties dispute whether the third coilateral call was proper.

            Highland argues that VBS should not.have included the 20 Internal Swaps in calculating the

            Deposit Threshold.Exposure     Amount "becajlse the Intradesk [i.e., Internal] Swaps were not

            Existing Credit Default Swaps under the SW A .... " (Ds.'s Findings, ~ 28.) Highland also

            claims that the Lehman Swaps were not properly included in the calculation because they had

            been terminated prior to the third collateral call. (See id., ~ 27.)

                  . More particularly, Highland claims that the Internal Swaps were not Existing Credit

            Default Swaps because they were not documented, as allegedly required by Section 3 of the

            SWA, in the form of an ISDA Master Agreement and ISDA Confirmation.                   (Ds.'s Findings, ~~

        .28, 30-31.) VBS does not dispute that the Internal Swaps were not documented by the ISDA

        Master Agreement and Confirmation, but argues thai Section 3 does not require. such

        documentation for the Internal Swaps. (Ps.'s Findings, at 24-25.)7

                   Resolution of this dispute inVolves an issue of contract interpretation.         It is well settled

        that the determination of whether a cont~act is ~biguous            is one of law to be resolved by the

        court. (Matter of Wallace v 600 Partners Co., 86 NY2d 543, 548 (1995]; W.W.W. Assocs., Inc.

        v Giancontieri, 77 NY2d 157, 162 (1990].) Written agreements are to be construed in

        accordance with the parties' intent, and "the best evidence of what parties to a written agreement



      . 7 It is undispuied that the Infernal Swaps were documented by electronic trading tickets but not by ISDA Master
        Agreements or ISDA trade confirmations. (Ds.'s Findings,~ 10; Ps.'s Findings,~~ 16-17; PX 29 [electronic trading
        tickets]:)                                                                                                               I
                                                                                                                                 1
                                                                5                                                                1
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      Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                           Page 7 of 41 PageID 8609
FILED: NEW
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           YORK COUNTY
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                                                                                                          I,
                                                                                                          ,

         intend is what they say in their writing." (Scmon v Troutman Sanders LLP, 20 NY3d 4~0, 436

         [2013] [internal quotation marks, brackets, and citation omitted].) The court should det~rmine
                                                                                                              i
         from contractual language, without regard to extrinsic evidence, whether there is any ambiguity.
                                                                                                              I

         (Chi mart Assocs. v Paul, 66 NY2d 570, 573 (1986].) Extrinsic or parol evidence "may riot be
                                                                                                              I
         considered when the intent of the parties can be gleaned from the face of the instrument.'] (Id. at

         572-573.) "Extrinsic evidence ofthli parties' intent may be considered only if the agreenlent is
                                                                                                   I,
         ambiguous .... " (Greenfield v Phi lies Records, Inc., 98 NY2d 562, 569 [2002].) "Ambiguity in
                      ,                                                                                           I
         a contract arises when the contract, read as a whole, fails to disclose its purpose and the parties'

        intent, or where its terms are subject to more than one reasonable interpretation."      (Univer'sal
                                                                                                                  I

        Am. Com. v National Union Fire Ins. Co. of Pittsburgh, Pa., 25 NY3d 675, 680 [2015] [irtteinal
                                                                                                                  I,
        'quotation marks and citation omitted].)

                It is also well settled that a court should "construe the [contract] so as to give full
                                                                                                                      I
                                               .           ,                                                          I
        meaning and effect to'the material provisions. A reading of the contract should not render ,any
                                                                                                    I
        portion meaningless. Further, a contract. should be read as a whole, and every part will be I
                                                                                                                      I
        interpreted with reference to the whole; and if possible it will be so interpreted as to give e~fect

        to its general purpose." (Beal Sav. Bank v Sommer, 8 NY3d 318, 324-25 [2007] [internal :

        quotation marks and citations omitted]; Nation~1 Conversion Com. v Cedar Bldg. Com., 23[
                                                                                                                          I
        NY2d 621, 625 [1969] [holding that "[a]lI parts ofan agreement are to be reconciled, if possible,

        in order to avoid inconsistency"].)

               Applying these precepts, the court holds that the SW A is not ambiguous with respect io
                                                                                                                          ,       .
                                                                                             .                            I
       the requirements for documentation of CDSs, that Section 3 of the SW A only applies to CDSs in
                                                           .    '                                                         I
       which a third party is the protection buyer, and that this Section does not require ISDA                               I

       documentation for the Internal Swaps.
                                                                                                                                      ,'i



                                                          6


                                                         6 of 40

                                                                                                       Appx. 00028
      Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                       Page 8 of 41 PageID 8610
FILED: NEW
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NYSCEF DOC. NO.
            NO. 650
                641                                                                    RECEIVED NYSCEF:
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                 The SWA defines "Existing Credit Defa\llt Swap[s]" as the CDSs "that were the subject

         of the Original Synthetic Warehouse Agreement."      (SWA, Whereas Clause 5.) Section 3 of the

         SW A provides, in pertinent part:

                      "Form of Documentation. Each Existing Credit Default Swap between
                      UBS, acting as Seller, and a counterparty, acting as Buyer, has been
                      documented in the form of (i) the ISDA Master Agreement and Schedule
                      currently in effect between UBS and the related counterparty, which
                      documents are confidential between UBS and such counterparty and (ii)
                      an ISDA published confirmation .... Each Additional Credit Default
                      Swap between UBS, acting as Seller, and a counterparty, acting as Buyer,
                      will be documented in the form of (i) the ISDA Master Agreement and
                      Schedule currently in effect between UBS and the related counterparty,
                      which documents. are confidential between UBS and such counterparty
                      and (ii) the Confirmation attached [to the SWA] .... "

                 As the Agreement that governs the securitization of Existing and Additional Credit

        Default Swaps, the"SW A contains numerous detailed provisions regarding the accumulation and

        disposition of these financial instruments. Section 3, which pertains to documentation of the

        swaps, is the only provision in the SWA that is limited to CDSs in which UBS is the Seller and a

        counterparty is the Buyer.    All of the other provisions of the SWA refer to CDSs without such

        limitation.

                Moreover, like SW A Section 3, the Original SW A provided: "Each Credit Default Swap

        between UBS, acting as Seller, and a counterparty, acting as Buyer, will be documented in the

        form of
              .
                (i) .the ISDA Master Agreement and Schedule currently in"effect between UBS and the
                                              "




        counterparty, which documents are confidential between UBS and each counterparty and (ii) the

        Confirmation attached hereto. : .. " (Original SWA,   9 3 [NYSCEF   Doc. No. 626].) It is

       "undisputed, however, that the Internal Swaps were included in the Original SW A portfolio but

       were not documented by the ISDA Master Agreement or Confirmation.         It is also undisputed that

       the Internal Swaps were nevertheless again included in the Initial Net Exposure Amount in the

       SWA for the restructured transaction. (Testimony of Peter Vinella [Highland's expert in

                                                         7


                                                        7 of 40

                                                                                                    Appx. 00029
          Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                                                                                                         Page 9 of 41 PageID 8611
FILED: NEW
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               structured              financial               products],                Trial        Tr.       at 1097,              1124-1125                [acknowledging                          that     the     Internal



               Swaps            were        included                in the        Initial           Net        Exposure               Amount).)

                                                                                                                                                SWA8
                                Initial       Net         Exposure                Amount                  is defined              in the                         as "I11,767,486.88,                             being        the



               amount            by       which          the       Aggregate                  Net         Exposure            Amount                 as of       the     date        hereof            [i.e.,    the        Ma        ch      14,


                                   of"                                                                                                 Deposit."
               2008       "as               date         of     the       SWA]              exceeds             the     Initial                                  As     defined            in     SWA           Section               12 (A),



               the    Initial         Deposit             is the          deposit             of    approximately                          $74,000,000                 in c.ash       and         Eligible            Secu            ities



               made       on the            date         of     execution                of    the        SWA.           Aggregate                  Net     Exposure                 Amount               is defined                   s the


               amount           by        which          CDS            Exposure               and        Cash         Exposure,               as of        the       date      of    the       collateral             calculatinn,


          - exceed              the    balance                on       deposit        in the          Deposit.Account                           plus       Positive                             with       respect          to each
                                                                                                                                                                               Carry

                                      Obligation.9
            Collateral                                                   As      discussed                above,         Section              12 (C)        of     the       SWA           requires             a deposit               of    $1Ò


            million             in additional                   cpllateral               when            the    Deposit               Threshold             Exposure                 Amount               is greater              than        or


            equal         to $100             million.                 The       Deposit             Threshold                Exposure                 Arilount            is defined              in the            SWA          a      "the



            amoüñt,              if any,           by     which            (i)    the         Aggregate                Net        Exposure                Amount             as of     [the        date         of    the    cabateral


                                                                                                                                      Amount."
            calculation]                   exceeds              (ii)     the      Initial          Net      Exposure                                         The         Initial       Net         Exposure              Amdunt,


           which           includes                the        Internal           Swaps,             is thus           integral             to the      calculation                 of the         Deposit            Threshold


           Exposure                   Amount.



                            Based            on      this          reading          of        the·SWA             as a whole,·the                      court       concludes                that         the    Internal              Swaps


           were         Existing             Credit             Default             Swaps            within            the    meaning                of    the     SWA.              The        lack       of   ISDA


           documentation                          was         therefore             not        a bar        to their         inclusion               in the       collateral               call        calculation.


                                The        court         rejects          Highlañd's                   further          contention                  that    the        Internal        Swaps               should           not          ave


                                                                                                                              consequence"
           been         included              because                  there      was         "no      economic                                                   to UBS             from         these         swaps.                     s.'s




           "
               Definitions            are found
                                            in the Deñnitions     section of the SWA (SWA,       Ex. A), unless the term is defined in a
           particular           provision
                                        of the SWA, in which case the provision         will be cited.
           '
             Positive       Carry is defined in the CWA.        As explained    by Adam Warren, Mighland's       damages expert, carry includes
           interest       payments   from the CLOs.       (Warren    Testimony,   Trial Tr. at 1299.)


                                                                                                                                  8




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     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                        Page 10 of 41 PageID 8612
FILED: NEW
FILED: NEW YORK
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                COUNTY CLERK
                       CLERK 09/14/2020
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NYSCEF DOC. NO.
            NO. 650
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         Findings, ~ 33.) The complex formula set forth in' Section 12 for calculating the exposurb of

         VBS on the assets
                        ., in the warehouse that would trigger a collateral call does not contain ahy
                                                                                                   ~

         requirement that VBS include in the calculation only assets for which it was at risk of sustaining
                                                   ,                         '.                                             I
        . actual losses.   10
                                                                                                                            I
                  The court further holds that, although the Internal Swaps were properly included in the
                                                                                                         ,                  I

         third collateral call calculation, the Lehman Swaps were not. The parties do not dispute that the
                                                                                             I
         Lehman Swaps had been terminated based on the Event of Default that occurred upon Lehman's

         filing for bankruptcy on September 15,2008. (OX 87 [VBS Default Notice].) Highland ~sserts,

        and VBS does not persuasively counter, that the Lehman Swaps should not have been included
                                                                                                                            I '
        in the third collateral call. Indeed, VBS's Grimaldi forthrightly acknowledged that, given:the
                                                                                                                                !
        termination, there should not have been "markdowns" on the Lehman Swaps. (Grimaldi

        Testimony, Trial Tr. at 297-298.).

                  Highland contends, based on the inclusion of the Lehman Swaps and Internal Swa~s in
                                                                                                                                ,


        the third collateral call calculation, that VBS "committed a prior material breach by failin~ to
                                                                                                                                I




         10 In view of this holding that the Internal Swaps were properly included in the collateral call calculation pur!uant to
         the unambiguous terms of the SWA, the court has not considered parol evidence on the issue.
             The court thus rejects Highland's request for a fin'ding that UBS admitted that the SW A required ISDA
         documentation of the Internal Swaps. (See Ds.'s Findings, ~~ 30-31.) This request is based on testimony of UBS's
         Keith Grimaldi who, when shown Section 3 during cross-examination,and asked if every CDS was required              have\0
         ISDA documentation, responded: "According to the language, yes." (Grimaldi Testimony, Trial Tr. at 262-264.)             ,
         Even if this evidence were properly considered, Highland's reliance on this answer ignores that Mr. Grimaldi further
        testified that ISDA documentation would not be "filled out" until the assets were transferred in the securitization.
        <.!lL at 267-270.)                                                                                                i

              The court further notes that Highland requests a finding, arguably in support of its claim that the CDSs were not
        Existing Credit Default Swaps, 'that a CDS "cannot be created with the same legal entity on both sides of the : .
        transaction .... " (Ds.'s Findings, ~ 29.) Even if parol evidence were properly considered, there was substantial
        evidence in the rec.ord that internal swaps were common in securitizations of synthetic assets. (LeRoux Testiinony,
        Trial Teat 1673- 1676; (Yinella Testimony, Trial Tr. at II 58-II 62 [denying that intracompany swaps are "eco~omic
        transactions" but acknowledging their use in CLO securitizations].)




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                                                                  9 of 40

                                                                                                                      Appx. 00031
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                  Page 11 of 41 PageID 8613
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
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NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                                RECEIVED NYSCEF:
                                                                                                   RECEIVED NYSCEF: 09/14/2020
                                                                                                                    11/14/2019



        .properlycalculate       the collateral call[]." (Ds.'s Findings, ~~ 23, 27-28.) In support of this

            contention, Highland relies on the testimony of its expert Peter Vinella. According to Mr.

            Vinella's own analysis, however, if the Lehman swaps are excluded from the calculation for the

        'third collateral call, but the Internal Swaps are included, the total increase in the Deposit

            Threshold Exposure Amount as of November 4,2008 is $328.62 million-' an amount greater

            than the $300 million required to authorize the third collateral call pursuant to Section 12 of the

            SW A. (Vinella Testimony, Trial Tr. at 1122-1139; DX Demo. 8.) Louis Dudney, UBS's expert

        in forensic accounting and damages (Trial Tr. at 824), analyzed Mr. Vinella's testimony and

        confirmed, using the same numbers as Mr. Vinella, that the Deposit Threshold Exposure Amount

        still exceeded $300 million on November 4, 2008, after excluding the Lehman Swaps but

        including the Internal Swaps. (PX Demo. 20 [accepted without objection in lieu of Dudney

        rebuttal testimony, Trial Tr. at 1870-1871].)'

                   Based on this credible testimony that the threshold for the collateral call was met without

        the Lehman Swaps, the court holds that the third collateral call did not constitute a material

       . breach of the contract, notwithstanding UBS's improper inclusion of the Lehman Swaps in the

        calculation;   11   (See generally Awards.Com v Kinko's, Inc., 42 AD3d 178, 187 [I st Dept 2007],

        affd 14 NY3d 791, 793 [2010]; Frank Felix Assocs., Ltd. v Austin Drugs, Inc., III F3d 284, 289

        [2d Cir 1997] [under New York law, for a breach to be material, "it must go to the root of the

       agreement between the parties"] [internal quotation marks and citations omitted].)
                                                                                                                                    i
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                                                                                                                                    Ii
                                                                                                                                il
          In view of this holding that the Deposit Threshold Exposur~ Amount exceeded $300 million as of November 7,
                                                                                                                                I
                                                                                                                                I#I
       II
      .2008, the court need not reach UBS's contention that the collateral call was proper because the Deposit Threshold
       Exposure Amount exceeded $300 million as of December 2,2008, prior to the termination of the transaction. (Ps. 's        "



       Findings,. at 15 n 10:)

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                                                             10 of 40

                                                                                                               Appx. 00032
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                              Page 12 of 41 PageID 8614
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
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NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                           RECEIVED NYSCEF:
                                                                                              RECEIVED NYSCEF: 09/14/2020
                                                                                                               11/14/2019




                As discussed above, there is no dispute that the Fund Counterparties failed to mert the
                                   .                                                                .     I
         third collateral call. The court accordirigly finds that the FundCounterparties       breached the SWA'
                                                   .                     .   .                            .I
         and turns to the issue of damages.

                DAMAGES

                Designation of Ineligible Securities'.                                                     .

                A critical issue in determining UBS's damages is whether UBS may recover damlges for'
                             .                                                                             I

         CDSs that UBS retained after its termination of the 2008 transaction, u~der these circumJtances
                        .'                                                                                 I .
        in which UBS did not designate the underlying reference obligations for any of the CDssias

        "Ineligible Securities." Resolution of this issue requires interpretation of the SWA. Highland

        and UBS both contend that the SW A is unambiguous as to whether Ineligi'ble Securities lust be

        designated, but assert fundamentally inconsistent readings of the Agreement.
                                                                                                           I.
                                                                                               (Ds.'s Findings, ~~
                                                                                                                            .
        44-49; see Ps.'s Findings, at 29 n 21.)

                As held above, the determination of whether a contract is ambiguous is one oflaw to be

        resolved by the court. (Matter of Wallace, 86 NY2d at 548.) Ambiguity will be found to lrise

        where the terms of a contract are "subject to more than one reasonable interpretation."

        (Universal Am. Corp., 25 NY3d at 680 [internal quotation marks and citation omitted).) As also

        held above~ a court should construe a contract so as to give full meaning and effe~t toits Jateria"1

       . provisions, and should read the contract as a whole and so as not to render any portion

        meanIngless, ifpossible.       (See Beal Sav. Bank, 8 NY3d at 324-25.)
                                   .                    '.'                                                    I .
               Sections 5 (A), 5 (B), and 6 of the SWA are relevant to the calculation of CDS damages:

        Section 5 (A) provides for the caiculation of losses with respect to CDSs removed from thj

       warehouse during the term of the Agreement or "otherwise pursuant to Section 6"; Section                15 (B)   .

       (2) governs the calculation of losses upon      a closing;   and Section 6 governs this calculation in the

       'event of a failure to close, incorporating terms from Sections 5 (A) and 5 (B).

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                                                              11 of 40

                                                                                                          Appx. 00033
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                            Page 13 of 41 PageID 8615
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
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NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                         RECEIVED NYSCEF:
                                                                                            RECEIVED NYSCEF: 09/14/2020
                                                                                                             11/14/2019




                Section 6 provides in pertinent part:


                           "(A) . If the Closing Date fails to occur on or prior to the
                                  Termination Date, then UBS may, with the consent of the
                                  related counterparty, either (at the election of the Servicer;
                                  provided that notice of such election is received on or prior
                                  to the Termination Date) (i) terminate each Credit Defaillt
                                  Swap or (ii) novate each Credit Default Swap to a third
                                  party or to the Servicer (or any Affiliate of the Servicer
                                  designated by the Servicer), in each case, on the
                                  Termination Date.



                          (C)    To the extent there are any CDS Losses, the COO Fund and
                                 SOHC shall collectively be responsible for 100% of any .
                                 such CDS Losses. Such CDS Losses shall be allocated
                                 between the COO Fund and SOHC on the basis of their
                                 respective Allocation Percentages. Each of the COO Fund
                                 and SOHC shall, after notice of the amount due from UBS,
                                 remit such amount.!' by wire transfer in immediately
                                 available funds to UBS within three Business Days after the
                                 Termination Date."

               . CDS Losses are in tum defined in Section 5 (B) (2), the closing

        provision, as:

                           "(x) the sum of (I) the aggregate Floating Amount payments.and
                           Physical Settlement Amount payments made by UBS with respect
                         . to all of the Credit Default Swaps as to which a Floating Amount
                           Event or a Credit Event occurred under the terms thereof, plus (2)
                           the aggregate amount of Net Hedging Payments made by UBS
                           with respect to all Hedging Transactions related to the Credit
                           Default Swaps, plus (3) the aggregate Replacement Losses
                           determined with respect to all of the Credit Default Swaps and the
                           related Hedging Transactions ihat"were terminated or novated or as
                           to which the exposure was retained by UBS, in each case upon the
                           designation of the Reference Obligation relating to such Credit
                           Default Swap as an Ineligible Security (such amount in this clause
                           (x), the 'CDS Losses') .... "

               Relying on the requirement in the definition of CDS Losses that Reference Obligations

       be designated as Ineligible Securities, Highland argues that "(t]he term .'CDS .Losses'


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                                                          12 of 40

                                                                                                     Appx. 00034
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                    Page 14 of 41 PageID 8616
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
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NYSCEF DOC. NO.
            NO. 650
                641                                                                                   RECEIVED NYSCEF:
                                                                                                      RECEIVED NYSCEF: 09/14/2020
                                                                                                                       11/14/2019




         unambiguously limits UBS's recovery for unrealized (mark-to-market) losses to securities

        designated as 'Ineligible Securities,' and the Court is bound to enforce the agreement pursuant to

        its unambiguous terms." (Ds. 's Findings, ~ 46.) Put another way, Highland argues that UBS .

        may recover mark-to-market losses only on CDSs that have been designated Ineligible

        Securities. (rd., ~ 53.)12 UBS asserts,. among other things, that under Section 6, UBS may

        terminate, novate, or retain CDSs regardless of eligibility, that ineligibility designations are not

        relevant absent a closing, and that Highland's reading renders meaningless other provisions of

        the SWA. (Ps.'s Findings, at 29 n 21.)

                 Upon close reading of the SWA, the court concludes that the SWA is not ambiguous with

        respect to ineligibility designations and that, under Section 6, upon thefailure to c1()seUBS is

        entitled to retain CDSs and to recover losses for the retained CDSs, without first designating the

        underlying Reference Obligations as Ineligible Securities. Section 6 (A) expressly provides for

        UBS to terminate or novate the CDSs, and does not require UBS to first make such designation.

        Although Section 6 (A) does not also, by it$ terms, provide for UBS to retain CDSs, a readin& of

        the contract as a whole leaves no question that UBS was not only entitled to retain the CDSs

        upon the failure to close; but also that it was entitled to recover losses on the retained CDSs

        without first designating the underlying Reference Obligations as Ineligible.13




        "'Highland's damages expert, Adam Warren, testified that realized losses are losses sustained where a transaction
       has been closed out and an actual cash payment has been made. (Warren Testimony, Trial Tr. at 1249, 1253.) He
       also testified that, in his opinion, there were no unrealized losses in the Synthetic Warehouse because no assets had
       been designated as ineligible. M at 1257 ["[O]ur computation is that there are no unrealized losses in the Synthetic
        Warehouse because of the need to ... create a designation of ineligible. And we saw no evidence of any Synthetic
       Warehouse asset being designated ineligible"].)
        Il In its decision of defendants'  motion for summary judgment, this court held that it could not determine on the
       record of that motion whether the SWA was ambiguous with respect to UBS's entitlement to recover losses on
       retained CDSs, pursuant to Section 6, without a prior designation of such assets as Ineligible Securities. (2017 NY
       Slip Op. 30546[U], 2017 WL 1103879, • 4-7 [Sup Ct, NY County Mar. 13 2017], affd 159 AD3d 512, Iv dismissed
       32 NY3d 1080.) With the benefit of the parties' extensive trial briefing on this issue, the court now concludes, for
       the reasons discussed further in the text, that the agreement is not ambiguous.

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                                                               13 of 40

                                                                                                                  Appx. 00035
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                           Page 15 of 41 PageID 8617
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
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                                                                                                             650097/2009
NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                        RECEIVED NYSCEF:
                                                                                           RECEIVED NYSCEF: 09/14/2020
                                                                                                            11/14/2019




                 As the above-quoted definition of CDS Losses in Section 5 (B) (2) shows, this definition

         relates to Credit Default Swaps which, upon l! closing, have been "terminated or novated or as to

         which the exposure was retained byUBS, in each case upon the designation of the Reference

         Obligation relating to such Credit Default Swap as an Ineligible Security .... " After setting

        forth the definition of CDS Losses (and CDS Gains) in the context of a closing, Section 5 (B) (2)

       . further provides: "To the extent the Closing Date fails to occur, allocation of CDS Losses, CDS

        Gains and any other amounts payable hereunder will be deiermin'ed in accordance with the

        provisions of Section 6 hereof."

                Significantly, while Section 6 (C) incorporates the defined term CDS Losses, the term .

        CDS Losses also incorporates both the definition of Ineligible Security and the term

        Replacement Losses from Section 5 (A). These incorporated terms modify the definition of CDS

        Losses' where a closing does not occur.

                The definition of Ineligible Security pertains to securities that are ineligible for

        securitization upon a closing. The SWA thus defines Ineligible Security, in pertinent part, as

        "any Reference Obligation in the CDS Portfolio which has become ineligible for sale to the

        I~suer on the Closing Date as a result of the failure of such Reference Obligation to conform to

        the Eligibility Criteria as it exists at such time of determination .... " (SW A, Exhibit A-2

        [emphasis added].)

                Section 5 (A), which defines the term Replacement Losses, distinguishes between such

        Losses sustained during the term of the Agreement and those sustained upon termination in the

        event of a failure to close pursuant to Section 6. Section 5 (A) primarily addresses the removal

        ofCDSs from the warehouse "during the term of this [the SWA) Agreement" where "a

        Reference Obligation or the related Credit Default Swap does not conform to the Eligibility

        Criteria" that must be met for securitization.   This section provides that "UBS shall be entitled in

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                                                         14 of 40
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                                                                                                       Appx. 00036
       Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                Page 16 of 41 PageID 8618
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
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NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                                   RECEIVED NYSCEF:
                                                                                                      RECEIVED NYSCEF: 09/14/2020
                                                                                                                       11/14/2019




             gDDdfaith tD designate any Reference ObligatiDn (and the telated CreditDefault                  Swap) Js an

             Ineligible Security and (ii) in its sDle'discretiDn tD remove any such Reference Obligatio!') (and
                                                                                                         ,,
                                                                                                                       I
             the related Credit Default Swap) from the CDS Portfolio." Section 5 (A), however, continues:
                 .                                                          .                                          I
                                                                                                                       i.
                             '                      .
             .               "To the extent any such Credit Default Swaps are terminated or
                             novated, or at UBS's discretion, such exposure is retained
                             following the designation of such Reference Obligations as                                 I
 , I                       . Ineligible Securities Dr .otherwise pursuant to SectiDn 6, UBS shall                  ,    ,!
                             determine the Replacement Gain or Replacement Loss relating to
                             such Credit Default Swaps [according to the formula that
                             follows)."

            (emphasis added). Section 5 (A) then sets' fDrth a fD~u'la for calcuiating Replacement G~in' and
                                                                                                                        I

            Replacement Loss, 'Yhich specifically provides for such calculation not oniy upon termination or
                                                                                                                       .1
        . novation but also up.on UBS's retention of the CDSs. (SWA             S 5 -rAJ [I]   - [3].)                  ! .



                     Section 5 (A) thus clearly contemplates that UBS may novate, terminate, or retain!CDSs
                                                                                                                           i

            both during the term .of the Agreement and in the eve~t .ofa failure tD clDse. The Section ~ff~rds'
        .                                                               .                                                  I
            UBS the discretion to terminate, novate, Dr retain CDSs "pursuant to Secti.on 6,". as distinct frDm

            its discretion to do so upon a designation of the underlying Reference Obligation as Ineligible
                                                                                                         .                  '
            during the term of the Agreement.     Any. other reading wDuld render meaningless the Sectilln 5
                                                                                                  .                         I
            (A) provision "or otherwise pursuant t.o Section 6."

                     Moreover, in order to reconcile all ofthe provisions of the SWA, the Section 5 (8):(2)
                                                                                                                             ,
            definition .ofCDS L.osses, when used in Section 6, cannot be construed as requiring a designation.
                                                                                                                             I
                                                                                                                             I
            ofIneligible Securities. As discussed above, Ineligible Securities are defined as securities:

            ineligible for sale at a closing. Secti~n 5 (B) (2), which governs the calculatiDn of losses 4here a
                                                                                                                                1


            closing will .occur, requires the designation ofIneligible Securities to facilitate the parties'                    I
                                                                                                           I
            calculation.of losses on assets deemed ineligible for inclusion in the securitization that win' .occur
                                                                                                                                i
                                                                                                                                I
            upon the clDsing. When a closing will not occur, none of the CDSs or .other assets will be                          I
                                                                                                                                ,




            securitized, and there is no need to distinguish between eligible and ineligible assets. While the
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                                                             15 of 40

                                                                                                                   Appx. 00037
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                    Page 17 of 41 PageID 8619
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
                                        04:03 PM
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NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                                   RECEIVED NYSCEF:
                                                                                                      RECEIVED NYSCEF: 09/14/2020
                                                                                                                       11/14/2019




         definition of CDS Losses with the Ineligible Security designation requirement serves the

        purposes of Section 5 (B) (2) in the event of a closing, it is inconsistent with the CDS Loss

        calculation required in Section 6 where the dosing does not occur.

                 Contrary to Highland's apparent contention (Ds.'s Findings, ~ 46), a reading of the CDS

        Loss provision in Section 6 to permit calculation of losses on retained assets without an

        Ineligible Security designation does not violate the fundamental precept that a defined term in a

        contract must be given eff~ct. (See generally Mionis v Bank Julius Baer & Co., 301 AD2d 104,

        109 [1st Dept 2002).) Rather, the CDS Loss definition, as used in Section 6, is modified by the

        contractual provisions discussed above.

                Although inartfully drafted, the SWA is not ambiguous. If the contract is read as a

        whole, and all of the provisions are given meaning, it is reasonably susceptible to only one

        meaning-namely,        that CDS Losses for retained assets may be recovered without a designation

        of the undedying Reference Obligations as Ineligible Securities where, as here, the contract has

        been terminated before the closing.       14   The court accordingly holds that UBS is entitled to recover

        damages for the retained CDSs in the Synthetic Warehouse.               IS


                Calculation of Damages

                As discussed above, UBS terminated the transaction based on the Fund Counterparties'




        14 The coun notes that the SW A and the Cash Warehouse Agreement (CW A) both contain provisions which state
       that the two agreements "set fonh the entire understanding of the panies hereto relating to the subject matter hereof
        .... " (SWA, ~ 18; CWA, ~ 18.) AssumIng, without deciding, that these agreements should be read together in
       construing the SW A, the coun finds that, although the assets at issue in the SWA and the CWA have markedly
       different attributes, the CWA is consistent with the SWA to the extent that the CWA permits UBS, in the event a
       closing does not occur, to retain and recover for losses on the CLOs that are the subject of the CWA, without a
       designation of the CLOs as Ineligible Securities. (See CWA, ~~ 5 [A), T[A].)
       15 In view of this holding that the SWA is not ambiguous as to whether CDS losses may be recovered without

       designation of the underlying Reference Obligations as Ineligible Securities, the coun has not considered any parol
       evidence, either.documentary or testimonial, in construing the SWA in this regard. Without limiting the foregoing,
       the coun has not considered prior drafts of the SWA, which Highland offered in the event parol evidence were to be
       admitted. (See Ds.'s Findings, 1[53.)            .

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                                                              16 of 40

                                                                                                                  Appx. 00038
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                       Page 18 of 41 PageID 8620
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
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                                                                                                 INDEX NO. 650097/2009
                                                                                                           650097/2009
NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                       RECEIVED NYSCEF:
                                                                                          RECEIVED NYSCEF: 09/14/2020
                                                                                                           11/14/2019




         failure to meet the third collateral call. UBS sent Highland a notice, dated December 3, 2008,


                                                     .
         stating that a Termination Date had occurred under the Warehouse Agreements but that it would
                 .
        forbear from exercising its remedies for two days to permit the Fund Counterparties to meet this

        collateral call. (PX 7.) UBS then sent a further notice to Highland, dated December 5, 2008,

        stating that it would exercise its remedies as the call had not been met. (pX 8.) UBS held a
                                                                                      .            .

        public auction' of the assets in the Knox Warehouse on December 16, 2008. By notice dated

        December 19, 2008, UBS demanded payment for its claimed losses based on the results of the

        auction-$157,949,885.47      for the assets in the Cash Warehouse (pX 10) and $587,357,060.59

        for the assets in the Synthetic Warehouse. (PX II.) UBS also notified Highland that it elected to

        retain the Collateral Obligations in the Cash Warehouse. (PX 10.)

                CDS Damages

                Highland argues that even if the recovery of damages for the CDSs is not barred by

        UBS's failure to designate the Referel!ce Obligations for the CDSs,as Ineligible Securities (a

        claim this court has rejected above), UBS has not proved damages for these CDSs. Specifically, .

        Highland contends that UBS did not comply with the contractual requirements for calculation of

        losses because its post-termination auction was untimely and otherwise improper., (Os. 's

        Findings, ~~,57-59.) Highland also contends that UBS's marks do not otherwise "establish a

        reasonable connection between the asset value arid UBS's alleged damages."        iliL ~~60-65.)   .

        UBS disputes these assertions. (Ps. 's Findings, at 29-31.) ,

               Sections 6 (C), 5 (B) (2), and 5 (A) (3) are the provisions of the SWA that govern the

        calculation of CDS Losses upon termination. Section 6 (C) provides in full:
                                                                                                                     ,
                                                                                                                     i
                       '.'To the extent there are any CDS Losses, the COO Fund and SOHC shall                        I


                                                                                                                     .
                                                                                                                     I
                       collectively be responsible for 100% o(any such CDS Losses. Such CDS                          I

                       Losses shall be allocated between the COO Fund and SOHC on the basis
                       of their respective Allocation Percentages. Each of the COO Fund and
                       SOHC shall, after notice of the amount due from UBS, remit such

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                                                         17 of 40

                                                                                                       Appx. 00039
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                           Page 19 of 41 PageID 8621
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
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                                                                                                         650097/2009
NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                     RECEIVED NYSCEF:
                                                                                        RECEIVED NYSCEF: 09/14/2020
                                                                                                         11/14/2019




                        amounts by wire transfer in immediately available funds to UBS within
                        three Business Days afte'r the Termination Date,"

        As discussed above, the definition of CDS Losses in Section 5 (B) (2) includes Replacenient

        Loss, the calculation of which is governed by Section 5 (A), With respect to Replacemef1l Loss

        relating to CDSs that are retained, Section 5 (A) (3) provides in full:

                       "To the extent UBS retains such exposure, the Replacement Gain and
                       Replacement Loss will be imputed based on the arithmetic average of at I
                       least three bids (or, if UBS if unable to obtain three such bids having made.
                       commercially reasonable efforts, such lesser number of bids as UBS is
                       able to obtain) obtained by or on behalf of UBS from nationally
                       recognized derivatives dealers in the relevant market (no more than one ofl
                       which may be UBS or any of its Affiliates; provided that any such bid        .
                       must be provided in good faith)   to assume UBS's position under such        ;
                       Credit Default Swap."
                                                                                                    I
               Th.e SWA, by its terms, thus. contemplated that payment would be made within three days
                                                                                                    I
        after the Termination Date, subject to notice from UBS. As the SWA provided for an auction to
                                                                                                    I
                                                                                                   ,I
        c'alculate the amount of the losses, it also contemplated that an auction could or would occur
                          ,      '                                         ',I
        within that three day period.

               By the terms of UBS 's notices to Highland, although a Termination Date had occurred as
                                                                                                 I
        of December 3, UBS extended the Fund Counterparties' time to meet the third collateral c~ll

        until December 5. The court thus finds that the Fund Counterparties' breach of the Agreements
                                 ,                              '                        .              I
        for failure to meet the third collateral call occurred on December 5. UBS did not conduct the
                                                                                                   ,
                                                                                                        I

        auction to calculate the CDS Losses until December 16.

               UBS's delay of approximately II days in conducting the auction, while seemingly de

        minimis, in fact had momentous financial consequences, given that the delay occurred in t~e

        wake of the September 15, 2008 Lehman bankruptcy filing and at the height of the financi~l

        crisis, With the market spiraling downward, the CDS losses ascertained through the auctioh

        process were approximately ~ II? million more than the losses calculated by using UBS 's ~arks


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                                                       18 of 40

                                                                                                  Appx. 00040
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                      Page 20 of 41 PageID 8622
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
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NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                                   RECEIVED NYSCEF:
                                                                                                      RECEIVED NYSCEF: 09/14/2020
                                                                                                                       11/14/2019




         on either December 3 or December 5. (PX Demo. 21; DX Demo. 12 [showing                         vas and
         Highland marks as of December 3 and 5; PX Demo. 28 at 60 [Ps.'s Closing Statement

         Demonstrative Exhibit, acknowledging that CDS damages, as calculated based on the auction,

         exceeded the losses calculated using VBS's marks on December 3 and 5 by over $117
                                                                                        '.
         million).)16

                 vas contends      that the three day payment period wa~ for its benefit and that it "could

        exercise its right to get paid after three business days without waiver." (ps.'s Findings, at 28.)

       . The court agrees that VBS's delay in demandin& payment or holding the auction did not result in

        a waiver of its right to seek payment of its damages resulting from the Fund Counterparties'

        breach. (See SWA        S 20' ["Neither   the failure nor any delay on the part of any party hereto to

        exercise any right, remedy, power or privilege under this Agreement shall operate as a waiver

        hereof ... ."J.) Highland correctly contends, however, that the delayed auction could not serve as

        a basis for calculating VBS's damages because the results of the auction did not retled market

        conditions as of the date of termination or breach. (See Ds.'s Findings, ~ 57)

                 As explained by the Court of Appeals:

                 "It has long been recognized that the theory underlying damages is to make good
                 or replace. the loss caused by the breach of contract. Damages are intended to
                 return the parties to the point at which the breach arose and to place the
                 nonbreaching party in as good a position as it would have been had the contract
                 been performed. Thus, damages for breach of contract are ordinarily ascertained
                 as of the date of the .breach."

        (Brushton-Moira Cent. Sch. Dist. v Fred H. Thomas Assocs., P.C., 91 NY2d 256, 261

        (1998) [internal citations omitted).)




        16 At the trial, the parties stipulated to dispense with rebuttal testim~ny from plaintiffs' damages expert, Louis

        Dudney and, in lieu of such testimony, to.the admission into evidence of plaintiffs' Demonstrative Exhibits 20 and
        21, and defendants' Demonstrative Exhibit 12. (Trial Tr. at 1868, 1870 [Stipulation).) PX Demo. 21 and OX
        Demo. 12, which were prepared by Mr. Dudney, calculated damages using.plaintiffs' anel defendants' marks,
        respectively, o~ December 3 and 5, 2008. (Trial Tr. at 1870-1877.)

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                                                               19 of 40

                                                                                                                  Appx. 00041
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                      Page 21 of 41 PageID 8623
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
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                                              PM                                                                 INDEX NO.
                                                                                                                 INDEX NO. 650097/2009
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NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                                    RECEIVED NYSCEF:
                                                                                                       RECEIVED NYSCEF: 09/14/2020
                                                                                                                        11/14/2019




                  It is further settled that damages need not be proven with mathematical certainty. It is

         sufficient that a reasonable basis forthe calculation of damages be shown. (See generally l.R.

         Loftus. Inc. v White, 85 NY2d 874, 877 (1995] ["While'a plaintiff may recover damages when

         the measure of damages is unavoidably uncertain or difficult to ascertain, a reasonable

         connection between a plaintiff's proof and a [] determination of damages is nevertheless

         necessary"]; CDO Plus Master Fund Ltd. v Wachovia Bank; N.A., No. 07 Civ. 11078 [LTS],

         20 II WL 4526 I 32, *2 [US Dist Ct SD NY, Sept. 29, 20 II] ["The law of New York is clear that

         once the .fact of damage has been established, the non-breaching party need only provide a stable

        foundation for a reasonable estimate [of damages)" [internal quotation marks and citations

        omitted, brackets in original].)

                  UBS's December 16, 2008 auction cannot satisfy either of these standards because, as'

        held above, the auction did not provide a reliab,le basis for determining UBS's losses at, or even,

        shortly after, the breach, due to'the exceptional circumstances presented by the financial crisis.17

        The court accordingly turns to the alternative basis advanced by UBS for the calculation of

       , damages-its     marks on December 5, 2008. (ps.'s Findings, at 29.)

                 It is well settled that "where the breach involves the deprivation of an item with a

        determinable market value, the market value at the time of the breach is the measure of

       'damages." (Sharma v Skaarup Ship Mgt. Corn., 916 F2d 820, 825 [2d Cir 1.990], cert

        deriied 499 US 907 (199 I] [applying New York law and citing Simon v E'lectrospace



         17 There is authority-that "in accordance with the objective that a party seeking recovery for breach of
        contract is entitled 'to be made whole' as of the time of the breach, the [fact finder] should be able tomake
        its valuation determination on all relevant elements of the case, whether dated prebreach, on the date of'
        breach, or 'some short time 'period thereaftei.'" (Credit Suisse First Boston v Utrecht-America Fin. Co., 84
        AD3d 579, 580 [1st Dept 2011] [quoting Boyce v Soundview Tech. Group, Inc., 464 F3d 376, 389 [2d Cir
        2006] [other internal quotation marks and citations omitted].) Although the auction was held shortly after
        the breach, this authority does not support calculation of damages based on the auction results, as the
        auction did not provide a'reliable basis for assessing the losses.                                        '


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                                                                20 of 40

                                                                                                                    Appx. 00042
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                        Page 22 of 41 PageID 8624
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
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NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                    RECEIVED NYSCEF:
                                                                                       RECEIVED NYSCEF: 09/14/2020
                                                                                                        11/14/2019




        ~,     28 NY2d 136, 145-146 [1971], motion to amend remittitur and clarify denied 28

        NY2d 809].) In accordance with the objective that the injured party be made whole,

        "damages for breach of contract are ordinarily ascertained as of the date of the breach."

        (Brushton-Moira Cen!. Sch. Dis!., 91 NY2d at 261.)

                UBS offered credible testimony that its December 5, 2008 marks reasonably reflected the

        market yalueofthe      CDSs as of the December 5 breach date. In particular, Timothy LeRoux,

        who at the timeofthe     transaction was second in command to Mr. Grimaldi on the UBS trading

        desk (LeRoux Testimony, Trial Tr. at 1640), gave credible testimony that, in the regular course of

        business, the trading desk "marked to market" hundreds of CLO assets, and every week or two

        was required to assign values on everyone of the assets, both cash and sYJ)thetic, in the Knox

        Warehouse. (Id. at 1724.) Mr. LeRoux also described the marking process and identified

        information, including public information as to offers'and bids on CDSs in the marketplace, that

        UBS considered in developing "objective" prices.' (Id. at 1727, 1745-1750.) Mr. Grimaldi also

        testified that, although
                              .  the trading desk performed the mark-to-market valuation
                                                                          '       .      ofthe assets in

        the Knox Warehouse, the UBS valuation group established oversight due to the volatility of the

        market and "would look at other market observations and make sure that those [the trading desk

        marks] were in line with the marketplace."   (Grimaldi Testimony, Trial Tr. at 207-208.)

               Highland does not dispute that the mark-to-market process is a methodology for

        determining loss in market'value of retained assets. (See ~   Testimony of Adam Warren

        [Highland's damages expert], Trial Tr. at 1268-1269; Tesiimony of Philip Braner [Highland

        former executive], Trial Tr. at 469-472; Testimony of UBS's Timothy LeRoux, Trial Tr. at 1640,

        1727-1729.)

               Rather, in claiming that UBS's marks are 'not competent evidence on which to award

        damages, Highland suggests that the setting of marks by the irading group involved a conflict of

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                                                       21 of 40

                                                                                                    Appx. 00043
         Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                         Page 23 of 41 PageID 8625
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    FILED: NEW YORK
               YORK COUNTY
                    COUNTY CLERK
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    NYSCEF DOC.
    NYSCEF DOC. NO.
                NO. 650
                    641                                                                     RECEIVED NYSCEF:
                                                                                            RECEIVED NYSCEF: 09/14/2020
                                                                                                             11/14/2019




             interest, because the trading group's bonuses were based on the performance of the mark-to-

            mark assets and the group had the incentive to inflate the value of the assets. (Ds.s' Findings, ~~

            61-62.) Highland makes no showing that UBS inflated the value of the CDSs or that trading

            groups do not routinely develop marks. Moreover, Highland's assertion that "UBS's trading

            group alone set the marks for the Knox Warehouse assets" (Ds.'s Findings, ~ 62) ignores UBS's

            credible testimony, discussed above, that the valuation group exercised oversight in connection

            with the development of the marks.

                    Highland's further assertion that its own marks are more reliable (Ds.'s Findings, ~ 65) is

            unsupported by persuasive evidence. Philip Braner, who ultimately became Chief Operating

            Officer of the Highland' Capital Management CLO Group and COO of Highland Financial

            Partners (Braner Testimony, TrialTr. at 397), testified that Highland was itself tracking marks on

            the assets in the Knox Warehouse (id. at 615) and had an "iniemal valuation team that was

            responsible for accumulating marks" in a process in which portfolio managers of the Highland

            funds participated.   (See id. at 467.) While Highland appears to assert that its marks are more

            reliable than UBS's because they were set by a valuation team, Highland fails to show that the

            role of its valuation team differed in any material respect from that of the UBS valuation group

            that performed oversight on its trading group in the marking process.

                   Notably, Highland fails to explain how jts methodology in setting marks was more

            reliable than UBS's. Adam Warren, Highland's damages expert, forthrightly testified that he was

            not opining on the reasonableness of any marks in this case (Warren Testimony, Trial Tr. at 1247-

            1248), and he did not in fact give any testimony on whether UBS's or Highland's marks were

          . more reliable.

                   The evidence at trial also demonstrated that Highland, like UBS, set marks on the CDSs

            on an asset by asset basis from March 2008 through October 2008. While there were differences

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                                                            22 of 40

                                                                                                       Appx. 00044
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                 Page 24 of 41 PageID 8626
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
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NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                              RECEIVED NYSCEF:
                                                                                                 RECEIVED NYSCEF: 09/14/2020
                                                                                                                  11/14/2019




         between Highland's and UBS's marks during this perio.d, the Highland and UBS marks in the


                                                                                       ..
         mo.nth of Octo.ber were subst~tially' similar. The difference in the marks did no.t escalatb
                                                                                                            I
        substantially until No.vember 2008. (PX Demo.. 9, at 4.) Mr. Dudney gavetestimo.ny, which was

        no.t disputed, that altho.ugh Highland, like UBS, had been setting marks o.n an asset by asfet

        basis, Highland sto.pped do.ing so. as o.fOcto.ber 2008 and, in a No.vember 30, 2008 calculatio.n o.f
                   .                                . .           '1
        damages, attributed the same mark (37) to. each asset. (Dudney Testimo.ny, Trial Tr. at 883-884, .

        905-909, OX 116.) Highland o.ffered no.e~planatio.~ fo.rthis change in metho.do.lo.gy. MJ.

        Dudney, in co.ntrast, gave plausible testimo.ny that this use o.fthe sam~ mark did no.t makJ sense'
                                                                                                            I
        given the .deterio.ratio.n o.fthe market. (Id.
                                                   --- at 908.).
                   In sum, based o.n the credible evidence at the trial, the Co.urtho.lds that UBS has rnet its
               .                          .'                                                                I
        burden o.fdemo.nstrating that its December 5, 2008 marKSprovide a reaso.nable basis, under the

        circumstances, fo.r the calculatio.n o.fdamages at the time o.fthe breach~ .In so. ho.lding, thJ Co.urt

        rejects Highland's no.t fully articulated co.ntentio.n that o.nly an auctio.n, and n~t a mark-tJmarket
                                               .'                                           .               \
        metho.do.lo.gy,is a reliable metho.d fo.r calculating damages. (See Ds~'s Findings, ~ 59.)           I
        Highlahd's reliance o.n the testimo.ny o.fits damages expert, Adam Warren, in suppo.rt o.fthis

        co.nteniio.n (see id.) i~misplaced.          While Mr. Warren testified that CDSs are "bespo.ke co.Jracts,"

       . he did no.t give any testimo.ny that an auctio.n was required to.ascertain their value.             1


                   Further, as held abo.ve, the auctiondid no.t provide a reliable basis fo.rdetermining iBS's

        damages due to.the vo.latility o.fthe market at the time o.fthe auctio.n. It bears emphasis that,

        altho.ugh the market was also. vo.latile at the time the December 5, 2008 marks were accumLated,
            ..               .   .                                     ..                                       I
        Highland has no.t advanced an alte~ative, o.ther than the no.n-viable auctio.n, to.the mark-td-
                                 .                                                                 .       . I
        market valuatio.n metho.do.lo.gy. No.r has Highland made any sho.wing that the market value o.f
                       .".                                                                                      I,




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                                                                23 of 40

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     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                      Page 25 of 41 PageID 8627
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
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NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                                    RECEIVED NYSCEF:
                                                                                                       RECEIVED NYSCEF: 09/14/2020
                                                                                                                        11/14/2019


                                                                                                                     I
                                                                      .                                              I
         the CDSs was not reasonably determinable as of the date of breach using the mark-to-market
                                                                                                                     ,
                                                                                                                     I


         valuation metho'dology.18

                  The court further holds that UBS has met its burden of
                                                                       -
                                                                         demonstrating ihe reasonableness            .




         of its calculation of damages using those marks. UBS's and Highland's experts both proyided
                                                                                               ,
        the cOUl\.with calculations of damages using UBS's and Highland's marks, respectively, as of

        December 5, 2008. Mr. Warren confirmed that his main differences with Mr. Dudney regarding

        the calculation of damages for the Synthetic Warehouse were that Mr. Dudney considereq it
                                                                                                                         ,
        appropriate, and he did not, to include damages for unrealized CDS losses and for the 20 Internal

        Swaps in which UBS was both the protection seller and the protection buyer. (Warren                              i
                                                                                                                         I
        Testimony, Trial Tr. at 1298; DX Demo. 12; PX Demo. 21; see also Dudney Testimony, Trial

        Tr. at 1004.)
                                                                                                                             I
                 Mr. Warren excluded from his damages calculation unrealized CDS losses for all CDSs

        as to which a designation of ineligibility had not been made. He testified that his basis for,doing
                                                                                                                             !

        so was his understanding of the contract-i.e,            his understanding that the SWArequired such
                                                                                                     i
        designation-and       not industry custom. (Warren Testimony, Trial Tr. at 1281-1282.) For the
                                                                                                                             I

        reasons discussed above, this court has rejected Highland's position that the SWA should bF




        18 In its post-trial briefing, Highland sought a finding that ifUBS is held to be entitled to recover damages for CDS
        losses, Highland's marks are more reliable than UBS's for determining those damages. (Ds.'s Findings, 11          I
        65.) Highland did not argue that the market value of the losses could not reasonably be determined by using'
        marks. In contrast, in support of its claim that it is entitled to an offset against CDS damages for post-breach'
        termination payments received by UBS on the CDSs, Highland questioned the accuracy of the market valuati~)n at
        the time of the breach. Highland thus asserted in a footnote: "Given the scant market pricing data available at the
        time of the breach, post-termination payments and asset dispositions are relevant for the additional reason that they
        provide a more accurate measurement of the actual value of the Knox assets." (Ds.'s Post-Trial Memo., at 8 q 5.)
        This assertion is unsupported by any citation to trial testimony. More important, at the trial Highland did not offer
        any expert testimony that the mark-to-market methodology was not a reliable basis for calculating the CDS I
        damages. For the additional-reasons set forth in the section of this decision on Highland's requested Offset for Post-
        Breach Appreciation In CDS Asset Value, the court finds that offset of post-breach payments received by UBS on
        the CDSs would be inconsistent with calculation ofUBS's damages based on their market value at the time of the
        breach.'


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                                                                24 of 40

                                                                                                                    Appx. 00046
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                              Page 26 of 41 PageID 8628
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
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                                                                                                     INDEX NO. 650097/2009
                                                                                                               650097/2009
NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                           RECEIVED NYSCEF:
                                                                                              RECEIVED NYSCEF: 09/14/2020
                                                                                                               11/14/2019


                                                .                                                           I
         construed as requiring ineligibility designations as a condition of the inclusion of unrealiZed
                                                                                                         . I
         losses on the CDSs in the calculation of damages. Also for the reasons discussed above,lthe

        ~ourt has rejected Highland's position that the losses on the Internal Swaps should not b~

        included in this calculation.                                                                       I
                                                                                                            i
                 Review of the experts' calculations shows, moreover, that when such losses are included.
                            .                                              .                                I
                        .                                                      "


        in the calculations, the difference between Highland's and UBS's totals is substantially reduced.
                                                                           .                  .             I
        As previously noted, the parties stipulated to the introduction into evidence of chart~ prepared by

        Mr. Dudney comparing his and Mr. Warren's calculations of CDS damages using UBS's ~d
                                                       .                                    i
        Highland's marks as of December 5, 2008. Using Highland's marks, Mr. Dudney calculated
                                                                                                                I



        CDS mark-to-market losses of$388,284,750,              compared to Mr. Warren's calculation of

        $26,952,895-a           difference of $361 ,331 ,855. (OX Demo. 12.) Using UBS's marks, Mr. J::)udney
                                                                                                                I

        calculated losses of$470,113,605,           compared to Mr. Warren's calculation of $26,952,895-1                   a
                                                                                                                !
        difference of$443,160,710.         (PX Demo. 21.)
                                                                                                                I
                                                                                                                I
                 The difference in the totals is largely due to Mr. Warren's exclusion from his calculation
                                                                                                                I

        of all unrealized CDS losses and all losses for the Internal Swaps. (Warren Testimony, Trilal Tr.
                                                                                                                    I
        at 1296-1299.) His calculation of$26,952,895            for CDS losses includes only realized CDS

        losses. (Id. at 1250.) According to Mr. Warren, the Internal Swaps account for $93,952,1'\3 of

        the CDS damages using UBS's marks, or $68,801,027 using Highland's marks. (Id. at 1269.)
             .                                                                                                      I

        Although Mr. Warren disputed UBS's entitlement to unrealized CDS losses, he performed a
                                                                                                                    I
                                                                                                                    I
        calculation including such losses. Using UBS's ma;ks as of December 5, 2008, ihese losses

        totaled $355,487,606.        (OX Demo. 10, at 14.) Using Highland's marks as ofthat date, theJe
                                                                                                            . I

        losses totaled $299,118,973. (Warren Testimony, Trial Tr. at 1269; OX Demo. 10, at 14.) Mr.
                                                                                                                        ,

                                                                                                                    I
        Warren's total, using UBS's marks, for the Internal Swaps ($93,952.173) and the unrealize4 CDS

        losses ($355,487,606) was $449,439,779.            (OX Demo. 10, at 14.) As stated above, Mr. Dudney's
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                                                              25 of 40

                                                                                                         Appx. 00047
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                             Page 27 of 41 PageID 8629
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
                                        04:03 PM
                                              PM                                                                                INDEX NO.
                                                                                                                                INDEX NO. 650097/2009
                                                                                                                                          650097/2009
NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                                              RECEIVED NYSCEF:
                                                                                                                 RECEIVED NYSCEF: 09/14/2020
                                                                                                                                  11/14/2019




         calculation oftOlal Synthetic Warehouse losses, using VBS's December 5, 2008 marks, ~as

         $470,113,605. Given the magnitude of the damages, thi~ disparity is not material.                                       .!
          .        The court accordingly holds th~t VBS incurred losses in the Synthetic WarehousJ of

         $470,113,605 as of December 5.,2008, the date of the breach, subject to the adjustments                                      I
         discussed below;

                   CLO Damages                                                                                                        I

                   Highl~d does ~ot dispute that unrealized losses are recoverable for the. CLO assJts.
                                    .                                                           .                                     I
                                        .                                                                                             I
        (Warren Testimony, Trial Tr. at 1293.) Moreover, VBS's (Mr. Dudney's) and Highland's (Mr.
                                                    ,           .' ,                                               ,.                 I
        Warren's) calculations of the CLO losses as of December 5, 2008 are the same: Vsing'                                          I
                                                                                          . '                                         I
        Highland's marks, these losses were $106,157,101.                        (OX Demo. 12, at 2.) Vsing VBS's !narks,
                                                        .                                           .'                                I
        the losses were $128,848,101.. (PX Demo. 21.) Having concluded that VBS's damages were
               ,
                                                            ,                                                                         I
                                                                                                                                      I
                            .                                                                                                     , I
        properly calculated based on VBS's marks as of December 5,2008, the date of the breacH, the
                                .                                                                                                     I '
                                                                                                                                      tre
                   .                .                                                                                                 I
        court holds that UBS incurred losses in the Cash Warehouse of $128,848, 101, subject to

        adjustments discussed below.

                Adjustments to Damages Calculation
                                                •                       .'                                              ,              I

                In c;llculating the Synthetic and Cash Warehouse losses, Mr. Dudney and Mr. Warren

       ,made adjustments
                .
                         for the ~a~e i'tems: carry {premiums and interest), collateral value, finlncing
                                                                                                   ,,

        fees, and financing savings. Mr. Dudney's adjustment of$79,587,557                          and Mr. Warren's, \

       . adjustment of $76,632,634 did not differ materially. (PX Demo. 21.) According to Mr. ~arren,
                       '.                                                    .                               .                            I
        the difference of approximately $3 million is due to Mr: Warren's exclusion of the Internal, Swaps
                                                                                                                                           ~   .
                                            .                                                      i
        in calculating the carry. (Warren Testimony, Trial Tr. at 1298-1299.) As the court has helq that

       ,the Internal Swaps were properly included in the damages calculation, Mr. Dudney"s adju,tments

        will be accepted.                                                                                                   .              I

               Reducing VBS's damages by the adjustments, the court holds that VBS sustained tltal
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                                                                       26 of 40                                                            !
                                                                                                                                  Appx. 00048
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                           Page 28 of 41 PageID 8630
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
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                                                                                                             650097/2009
NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                        RECEIVED NYSCEF:
                                                                                           RECEIVED NYSCEF: 09/14/2020
                                                                                                            11/14/2019



            damages of$519,374,149     (Cash Warehouse Losses of$128,848,101       plus Synthetic Warehouse

            Losses of$470,113,605    minus $79,587,557).

                   OFFSETS

                   Offset for Post-Breach Appreciation In COS Asset Value

                   A central issue in this action is whether Highland is entitled to an offset against UBS's

            damages for appreciation "inthe value of the COSs after the breach. The parties stipulated that

            UBS received post-breach termination payments net of carryon the COSs, including the.Iniem'al

            Swaps, in the amount of$202,223,059.     (OX 491.) It is undisputed thai these payments were

        received months and, for many of the tOSs, years after the termination of the transaction. (Os.'s

            Post-Trial Memo., at 10 [acknowledging that UBS "liquidated the assets years later"]; PX 335

            [spreadsheet showing termination dates for COSs through 2011 ].)

                   Highland argues that, at the time the transaction was'terminated, "frozen ciedit markets

       'had created a severe mismatch between the assets' alleged market value and their actual value
        ,                     ,                                                                   .

        based on their cash flows." (Os.'s Post-Trial Memo., at 10.) Highland further argues that UBS

        was able to sell these assets for hundreds of millions of dollars more than their December 2008,

        marks and that, while UBS is entitled to retain the sale proceeds, "it cannot ignore these monies

        in calculating the harm it actually suffered." (Id. at II.) According to Highland, if disposition of

        the assets after the termination is not considered, UBS will receive "an enormous windfall." (ld.)

        UBS acknowledges that if a non-breaching party obtains a benefit "because of the breach," the,

        benefit must be offset against the non-breaching party's damages. (Ps.'s Post-Trial Memo., at 6

        [emphasis UBS's].) UBS argues, however, that the Fund Counterparties' breach was not a but

        for'cause of the post-breach payments UBS received for the COSs. (ld. at 7.) Rather,

        subsequent gains that resulted from UBS's disposition of the assets were "the result of UBS's

        contractual rights [to retain the assets] in the event of any termination and of its subsequent

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                                                           27 of 40

                                                                                                      Appx. 00049
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                  Page 29 of 41 PageID 8631
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
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NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                               RECEIVED NYSCEF:
                                                                                                  RECEIVED NYSCEF: 09/14/2020
                                                                                                                   11/14/2019




        investment"strategy."         (Id. at 14.) According to UBS, the Fund Counterparties' proposed offset

        would deprive UBS of the benefit of tlie bargain and result in a windfall for the Fund

        Counterparties.   (Id.)
                                                                                                            I
                 As discussed above, contract damages are intended to make "good or replace the loss"
                                                                                              .             !

                                                                            .
        caused to a.party by the breach of contract and "to place the nonbreaching party in as godd a
                                                                                                            I .
        position as it would have been had the contract been performed. Thus, damages for breath of

        contract are ordinarily ascertained as of the date of the breach." (Brushton-Moira Cent. Sch.

        Dist., 91 NY2dat 261.~ .Further, "where the breach iilVolves the deprivation ofan item ~ith a

        determinable market value, the market value at the time of the breach is the measure of              I
                    .                                                                .                       I
        damages." (Sharma, 916 F2d at 825 [applying New York law and citing Simon, 28 NY2d at .

       . 145-i46).).                                                 ..                                      \              .

        .       The calculation of damages is also subject to the fundamental precept that where            j           non-

        breaching party acquires a "benefit or opportunity for benefit .. : because of the breach, a

        balance must be struck between benefit and loss" and the benefit must be offset against the non-
            .   .                                                                .                           I .
        breaching party's damages. (Indu Craft, Inc. v Bank of Baroda, 47 F3d 490, 495 [2d Cir 1995)

        [applying New York law); accord Aristocrat Leisure Ltd.
                                                            .
                                                                v Deutsche Bank Trust Co. AmeLas,
                                                                                              ,                 ,

                                                                                 .                              I
        727 F Supp 2d 256, 289 [SD NY 20 101["[I)f a victim derives a benefitfrom             the breaching
                                                                                                                I
        party's breach of contract, the breaching party only is responsible for the victim's net loss',),
                                      .                                                                         1

        reconsideration denied 2010 WL 3431132; Fertico Belgium S.A. v Phosphate Chemicals Export

        Assn .. Inc., 70 NY2d 76, 84 (1987), rearg denied 70 NY2d 694 [holding, in a "co~er" actiL                              .
                                  •                                                                                 I

                                                                                                                    I
        governed by the Uniform Commercial Code, that "'[g)ains made by the injured party on otrer

        transactions ~er the breach are never to be deducted from the damages that are otherwise                    I
        recoverable, unless such gains could not have been made, had there been no breach "') [quoting 5

        Corbin, Contracts ~ 1041).)                           .                          ..           .             I ..
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                                                            28 of 40
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                                                                                                            Appx. 00050
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                  Page 30 of 41 PageID 8632
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
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                                                                                                                  650097/2009
NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                               RECEIVED NYSCEF:
                                                                                                  RECEIVED NYSCEF: 09/14/2020
                                                                                                                   11/14/2019




        ,          ,   Here; although UBS and Highland agree that any benefit derived by UBS because
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            o"h, bre~h.m""b, off,,,              'g"'" '" ,,,=, ","h~ ",rty   h~ d"d, ~d <h,      00,,"',01
            research has not located, any case in which a court has considered how to apply this              I
                        ,    ,                                                       .
            precept to a non-breaching party's retention of assets upon 'a failed securitization

            transaction and realization of subsequent gains. There is, however, a substantial body of
                                             \
            law involving a breaching party's failure to deliver or purchase assets subject to

            fluctuations in value, in which the courts have' assessed damages based on the market

            value of the assets at the time of breach and have declined to consider any subsequent
                                                                                                              I
            increases or decreases in value of the ass'ets. As discussed further below, the court
                                                                                                              I
            concludes that these cases are inconsistent with the offset sought by Highland.                   I
                       As the ~econd Circuit has explafned in reviewing thi~ body of law, New York      cols
        reject damage awards ~'based on what 'the actual economic conditions and performance' ~ere in
                                                                                                                  I
        light of hindsight." (Sharma, 916 F2d at 826, quoting Aroneck v Atkin, 90 AD2d 966, 967 [4th

        Dept 1982], Iv denied 59 NY2d 601 [1983].) "They have expli~itly rejected the use of
               ,
                                                                                                                  I
                                                                                                                  I
                                         "                                      ,                                 I '
        subsequent changes in value or profits where they would increase an award, and where they

        would decrease the award:" (Sharma, 916 F2d at 826 [internal citations omitted].)

                       In the securities context, courts have repeatedly held that the damages for failure. \'

        to deliver or purchase shares of stock should be based on their market value a~the time of                I
        breach, and not on any subsequent increase or decrease in their value. (Simon, 28 NY2d '\

        at 145-146 [where the seller breached a contract to deliver shares, holding: "The proper
                                 .                                                            .
        measure of damages for breach of contract is determined by the loss sustained or gain                         I
        prevented at the time and place of breach. The rule is precisely the same when the breach I

        of contract is nondelivery of shares of stock"] [internal citations omitted]; Aroneck, 90

        AD2d at 967 [where the buyer breached a contract to purchase shares, holding that

                                                                29


                                                               29 of 40

                                                                                                          Appx. 00051
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                           Page 31 of 41 PageID 8633
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
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NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                         RECEIVED I NYSCEF:
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                                                                                                               11/14/2019
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         damages should be based on market ~alue att~e time of breach, and rejecting the bUyer'~

         theory that the "value should be based on the actual economic conditions and                 I
         performance" of the company post-breach]; Emposimato v CIFC Acquisition Com., 89 \

         AD3d 418, 421 [I st Dept 201 I] [quoting Aroneck and citing Simon in holding that "[1]n \

        the case of a breach of contract to sell securities, expectation damages are calculated as \

         'tile difference between the agreed price of the shares and the fair markei value at the         I
        time of the breach"']; Oscar Gruss & Son, Inc. v Hollander, 337 F3d 186, 197 [2d Cir              I
                                                                                                          I
                                                                                                     JI
        2003] [following Simon and Aroneck in a case involving the defendant's breach of a

        contra~t to deliver ~arrants]; see also Kaminsky v Herrick Feinstein LLP, 59 AD3d I, I
                                                                              .         .
        12 [1st Dept 2008], Iv denied 12 NY3d. 715 [2009] [holding that damages for breach of             I
        cortract to deliver shares prior to an initial public offering (IPO) should be awarded            I
        based on the value of the shares at time of the breach, not their higher value post-IPO].)        I
                The court holds that these cases involve transactions that are analogous to

       . (although far less complex than) the transaction at issue, and apply the same measure of

        damages that this court has adopted above-namel~,      the measure of damages based on

        the market value of the assets on the date of the breach. These cases accordingly govern

        the calculation of damages here. The court notes, moreover, thai sound reasons support'

        the application of this measure of damages without consideration of post-breach
                                                                                                              I
        fluctuations in the value of the assets.
                                                                                                              I
               As the Second Circuit reasoned, a contrary rule that would permit calculation of               \

        damages at the time of trfal "would be a two-edged sword, because courts would have to                I
        diminish damage. awards where the value of the item decreased or where losses were
                                                                                                              I
                                                                                                              I
        encountered subsequent to the breach as well as enhance them where conditions improve.                    \

        However, New York courts have expressly refused to adopt this 'wait and see' theory of
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                                                       30 of 40
                                                                                                                  I
                                                                                                      Appx. 00052
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                            Page 32 of 41 PageID 8634
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
                                        04:03 PM
                                              PM                                                 INDEX NO.
                                                                                                 INDEX NO. 650097/2009
                                                                                                           650097/2009
NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                       RECEIVED NYSCEF:
                                                                                          RECEIVED NYSCEF: 09/14/2020
                                                                                                           11/14/2019




        damages." (Sharma, 916 F2d at 826.) In addItion, although the court does not adjust for

        changes in the.villue of the shares when calculating damages according to the date of

        breach measure, the parties themselves can protect against changes in value by hedging

        or acquiring shares in the market. As the Second Circuit further reasoned: "To be sure,

        uncertainties about the future and lack of perfect information may cause an asset to be

        under- or over-valued at any particular time. At that time, however, either party has an

        opportunity to hedge according to his or her judgment about the future stream of

        income." (Sharma, 916 F2d at 826; see also Simon, 28 NY2d.at 146 [where the seller

        breached a contract to deliver shares, reasoning that "[i]fplaintiffwere    anxious to own

        the shares rather than obtain their value, he was free to purchase them in the market. His

        cause of action should not and may not be converted into carrying a market 'call' or

        'warrant' to acquire the stock on demand if the price rose above its value as reflected in

        his cause of action"].)

                The court further holds that application of the date of breach measure of damages,

        without adjustments for fluctuations in.the value.ofthe assets, will serve the objective of

        putting UBS in.the position it would have been in had the contract been performed .. If the

        securitization had closed, UBS would have been entitled, under the express terms of the

        SWA, to novate to the Issuer its positions as protection seller on all of the eligible Knox

        CDSs. (SWA     S 5 [B]    [1].) As a result of the breach, UBS was forced to assume a

        substantial risk of loss under the CDSs that would have been novated to the Issuer had. the

        closing occurred. As discussed above, the loss in market value of the retained CDSs .as of

       the date of breach was determined using the mark-to-market methodology. More

       specifically, as confirmed by both UBS's and Highland's experts, the mark-to-market

       losses calculated as of the date of breach represent the cost to UBS to exit the CDSs-

                                                          31


                                                         31 of 40

                                                                                                      Appx. 00053
      Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                      Page 33 of 41 PageID 8635
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
                                        04:03 PM
                                              PM                                                                  INDEX NO.
                                                                                                                  INDEX NO. 650097/2009
                                                                                                                            650097/2009
NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                                      RECEIVED NYSCEF:
                                                                                                         RECEIVED NYSCEF: 09/14/2020
                                                                                                                          11/14/2019




         that is, the payments to be made to third-parties so that they would take on, and UBS

         could extricate itself from, the risk. (Warren Testimony, Trial Tr. at 13.04-1306; Dudney

         Testimony, Trial Tr. at 894-895.) A damage award for these mark-to-market losses will

         therefore compensate UBS for the exposure to risk that it would not have faced had the
                                                            l     '

         contract been performed.

                  To the extent that Highland contends that a damage award is not appropriate for these
  \
         mark-toc,market losses because 'the losses were not realized, the court rejects that,contention.                   The

         damage award is appropriate,'notwithstanding                 that the losses were not realized, because, as held

         above, the contract affords UBS th(':right of recovery for such losses. (See COO Plus Master

         Fund Ltd. v Wachovia Bank, N.A., No. 07 Civ. 11078 [LTS], 2011 WL 4526132, • 2 [US Dist Ct

         SO NY, Sept. 29, 20 I I] [reasoni~g that, where the contractual definition of loss for the purpose

        of calculating damages did not require the CDS protection buyer to sustain "actual loss," "[t]he

        . absence of an actual loss on a Reference Obligation transaction, thus, is not a barrier to [the

        protection buyer's] recovt:;ry... "] [emphasis in original].)

                 The court further holds that the record does not s'upport Highlaild's contention that

        UBS's post-breach gains were realized because of the breach, and that this case therefore'

        falls under the line of authority that requires an offset for such gains. Highland in effect

        contends that because UBS retained the 'CDSs as a result of the breach, it also realized the

        post-breach gains because of the breach.          19    That conclusion' does not follow. As held




        19 In so holding, the court rejects UBS's contention that it would have been en!itled to retain the CDS assets,

        regardless of the Fund Counterparties' breach, because the Agreementswould have terminated in any event as of
        March 14,2009, at which point UBS would have had the contractual right to retain the assets. CPs.'s Post-Trial
        Memo., at 8.) This assertion is not only speculative but ignores that UBS did in fact acquire the dghtto retain the
        assets upon the Fund Counterparties' breach of the Agreements as a result of their failure to meet the third collateral
        call. For the reasons discussed in.the text, however, the court cannot accept Highland's further contention that,UBS
        realized gains on the retained CDSs because of the breach.

                                                                      32


                                                                  32 of 40

                                                                                                                     Appx. 00054
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                           Page 34 of 41 PageID 8636
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
                                        04:03 PM
                                              PM                                                   INDEX NO.
                                                                                                   INDEX NO. 650097/2009
                                                                                                             650097/2009
NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                          RECEIVED NYSCEF:
                                                                                             RECEIVED NYSCEF: 09/14/2020
                                                                                                              11/14/2019




         above, UBS had a contractual right to retain the CDSs upon the tennination of the

         transaction based on the Fund Counterparties' breach oftheSWA by failing to meet the

         collateral Cllll.The SWA does not contain any provision that limited UBS',s discretion as

         to when to dispose of the assets after tennination.    Rather, as UBS persuasively argues,

         the gains realized as a resultofthe    post-breach disposition of assets were attributable not

         to the breach itself but to UBS's assumption of the risk of loss on the CDSs and its

         investment strategy as to when to dispose of them based on its assessment of the market.

         (See G & R Corp. v American Sec. Trust Co., 523F2d 1164, 1175 [DC Cir 1975]

         [holding that while the transfer of property to the plaintiffs was caused by the defendant's

        .breach, the profit realized by the plaintiffs from a post-breach sale was not "caused by the

        breach" but was "attributable to the [plaintiffs'] decision to hold [the property] until [its]

        condition and the market were favorable for sale"].)

                Nor does Highland successfully argue that the gains realized by UBS on the post-breach

        disposition of the assets must be offset under general principles which require a party who

        suffers damages as a result of another's breach to take reasonable steps to mitigate its damages.

        (See Ds.'s Post-Trial Me'mo." at 5-9.) 'Highland cites cases requiring miiigation in connection

       , with the purchase and sale <ifsecurities and transactions in other markets. (See U'Drummond v

        Morgan Stanley & Co., Inc., No. 95 Civ. 2011 [Dc], 1996 WL 631723,           * 2-3   [US Dist Ct SD

       , NY, Oct. 31, 1996] [holding that where the buyer' breached a contract to purchase securities, the

        seller must take steps to mitigate its damages by selling the securities within "a reasonable period

        of time"]; Saboundjian v Bank Audi (USA), 157 AD2d 278, 284-285 [I st Dept 1990] [holding

      , that where'a broker failed to execute a customer's speculative currency exchange order, the

        customer was required to direct execution of the trade "within a reasonable time after he learned

       .that it had not been effected earlier"].)'

                                                           33


                                                          33 of 40

                                                                                                      Appx. 00055
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                         Page 35 of 41 PageID 8637
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
                                        04:03 PM
                                              PM                                                                    INDEX NO.
                                                                                                                    INDEX NO. 650097/2009
                                                                                                                              650097/2009
NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                                        RECEIVED NYSCEF:
                                                                                                           RECEIVED NYSCEF: 09/14/2020
                                                                                                                            11/14/2019



                  These cases are inapposite, as the SWA affords UBS the contractual right to retain the

         securities upon the Fund Counterparties' breach. Ironically, although purporting to rely on these

         cases, which in fact require that the non-breaching party mitigate within a reasonable period of

         time, Highland argues not that UBS was required to dispose of the COSs within a reasonable

         period of time after the breach but that it was required to hold them for months and, indeed,

         years, until the market improved. Highland thus asserts that UBS reasonably mitigated by

         "holding (as opposed to fire selling) fully performing interest and premium-bearing assets in the

         face of a dysfunctional market: .. ," and that "UBS.'s mitigation was not only reasonable, but

        required by law.." (Os.'s Post-Trial Memo., at 7.) Put another way, Highland does not identifY a

        specific date or dates by which UBS was required to mitigate. To the contrary, without citation

        to any'legal authority, Highland argues that UBS was required to hold the assets for an indefinite

        period, until the market improved, to minimize its losses.

                  The mitigation cases provide no support for Highland's assertion that UBS's disposition,

        months and years after the breach, of assets that it had a contractual'righno                   retain, constitutes

        mitigation20 Rather, in claiming that it is entitled to "offsets" for the post-breach gains realized

        by UBS, Highland appears in effect to advance a measure of damages that is patently

        inconsistent with the fundamental tenet of the date of breach measure of damages-namely;                             that

       . a non-breaching party's damages for assets with a determinable market value must be calculated



        20 Nor does Highland cite any other authority that supports its claim that it is entitled to offsets for post-breach gains

        realized by UBS. Cases in which a party has a duty to cover ~ U Fertico Belgium S.A. v Phosphate Chemicals
        Export Assn .. Inc., 70 NY2d 76, supra) are inapposite, given UBS's contractual right to retain the CDSs upon the.
        breach. Cases in which a party is on both sides of a securities transaction are factually dissimilar. (See Aristocrat
        Leisure Ltd. v Deutsche Bank Trust Co. Americas, 727 F Supp 2d 256, supra [where the plaintiff company breached
        a contract affording the defendant bondholders the right to convert their bonds to the company's stock, and the
        bondholders held open existing.short positions in the company's stock on which they realized post-breach gains, the
        company was entitled to an offset]; see also Minpeco, S.A. v Conticommodity Servs., Inc., 676 F Supp 486, 490
        [SD NY 1987] [holding that the plaintiffs losses on short futures positions on silver as a result of the defendants'
        manipulation of the market were required to be offset by the plaintiffs profits on physical silver positions also then
        held by the plaintift].)                 .'                                                              .

                                                                    34


                                                                  34 of 40

                                                                                                                        Appx. 00056
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                         Page 36 of 41 PageID 8638
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
                                        04:03 PM
                                              PM                                                INDEX NO.
                                                                                                INDEX NO. 650097/2009
                                                                                                          650097/2009
NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                      RECEIVED NYSCEF:
                                                                                         RECEIVED NYSCEF: 09/14/2020
                                                                                                          11/14/2019




         at the date of breach, not based on hindsight, and that neither party can select the date on which

         the damages calculation will be most favorable to it. Thus, a non-breaching buyer cannot select

         the date on which the assets "had their highest value or a period of time that was profitable but

         that excludes periods when losses occurred." (See Sharma, 91,6 F2d at 826.) Similarly, a

         breaching buyer cannot avoid or reduce the damages caused by its breach by invoking post-

        breach decreases in the value of the assets. (See id.)

                The court accordingly holds that Highland's request for an offset for UBS's post-breach

        gains from the disposition of the CDSs must be denied.

                Offsei for Right of First Refusal Counterclaim

                Highland Capital Management, L.P. (Highland Capital) seeks judgment on its first

        counterclaim against plaintiffUBS    Securities LLC'for breach of the Cash' Warehouse Agreement

        provision affording it the right to purchase CLO assets in the event UBS elected to retain such

        assets upon the termination of the Agreement. Section 5 (A) of the CWA provides that in event

        of failure to close, "UBS shall be authorized (but not required) to sell each Collateral Obligation

        then in the Warehouse Account in accordance with the Liquidation Procedures."       The Liquidation,

        Procedures set forth in section 7 (A) of the CWA provide in pertinent part:

                       "If any Collateral Obligation is to be sold, UBS shall have the right
                       to direct such sale on such terms and in such manner and at such
                       time that it deems appropriate in its sole discretion. UBS may, in
                       its sole discretion, elect to retain any such Collateral Obligation or
                       to sell such Collateral Obligation to one of UBS 's Affiliates in
                       which event, for purposes of determining Net Collateral Gain and
                       Net Collateral Loss, such Collateral Obligation shall be deemed to
                       have been liquidated at a price equal to its Market Value. To the
                       extent that UBS in its sole discretion elects to retain such
                       Collateral Obligation" the Servicer will have the right to purchase
                       such Collateral ObligatIon at its Market Value."

        Section 7 (A) further provides that if UBS elects to sell CLOs upon termination, "the Servicer

        will have the right to bid for and purchase such Collateral Obligation at a purchase price equal to

                                                        35


                                                       35 of 40

                                                                                                   Appx. 00057
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                     Page 37 of 41 PageID 8639
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
                                        04:03 PM
                                              PM                                                                  INDEX NO.
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                                                                                                                            650097/2009
NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                                      RECEIVED NYSCEF:
                                                                                                         RECEIVED NYSCEF: 09/14/2020
                                                                                                                          11/14/2019




         the highest third party bid received by UBS for the purchase of such Collateral Obligatidn."

                      It is undisputed that Highland Capital notified UBS that it sought to purchase six lof the
                                                                                                                     !
         CLOs with a bid price of $1.9 million and a notional value of $44 million, but that it sought to

         provide the funds for the purchase, and to settle the trades, in the name of one of its affiliates,
                                                              '.                                                     j
         CLO Value Fund. (Os.'s Findings, ~ 21.) UBS declined to agree to the sale to the Highland

         Capital affiliate. (Id.; OX 72; PX 292.)
                                                                                       .                  '.
                      The court is unpersuaded that a Highland Capital affiliate had the right;'under the CWA,

         to purchase the CLOs. Section 7 (A), which governs the disposition of the CLO assets u~on

        termination, expressly affords one UBS Affiliate the right to purchase CLOs. In contrast, 'this
             .    -                                                                                  .        .          I
         Section affords the right to purchase only to the Servicer, and not to any other Highland e(ltity.
                               .                                                                                         I
        The. Servicer is defined as Highland Capital Management, L.P. (CWA, First Paragraph.). i
                                                                                                  l
        Reading the CWA as a wh~le, the court further finds that no other provision modifies or is
                                                                                                                         i
        inconsistent with this limitation: On the contrary, where the acts of Highland Capital's Affiliates

        were implicated, the CWAexpressly referr.ed to the Affiliates. (CWA,                  S   13 [B] [limiting tAe
                                                                                                                         :
        liability of the "Servicer" "for any acts or omissions by the Servicer or any Affiliate of the:
                                                                                                                             I
        Servicer, or any of their directors, officers, members, agents, equityholders                [and others] under or
                                                                                                                             ,
        in connection with this Agreement, or for any decrease in the villue of the Collateral Portfqlio
                                           .                                                                                 I
        ....     ,,].)21 The court accordingly holds that the CWA unambiguously provides that the right to.

        purchase retained CLOs is limited, among the Highland entities, to Highland Capital.
                                                                                                                             I
                      In view of this holding that the CWA is not ambiguous with respect to Highland's post-



                                                                                                                                 I
        21The parties to the transaction knew how to afford rights to purchase assets to Affiliates of the Servicer. The SWA
        provides that if the closing failS to occur, UBS may, with the consent of the related counterparty, novate CDSs "to a .
       third party or to the Servicer (or any Affiliate of the Servicer designated by the Servicer) .... " (SWA 11 6 [A]') The
       .omission from the CW A of authorization to Affiliate(sYofthe Servicer to purchase CLOs is therefore notable:
        Moreover, Highland Capital does' not claim that the concerns-regulatory      and other-that are implicated in novating
       CDSs are comparable to those in selling CLOs.

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                                                                   36 of 40

                                                                                                                    Appx. 00058
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                                   Page 38 of 41 PageID 8640
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
                                        04:03 PM
                                              PM                                                                                 INDEX NO.
                                                                                                                                 INDEX NO. 650097/2009
                                                                                                                                           650097/2009
NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                                              RECEIVED NYSCEF:
                                                                                                                 RECEIVED NYSCEF: 09/14/2020
                                                                                                                                  11/14/2019




        termination righi to purchase CLOs, the court rejects Highland's contention that the cou* should

        consider evidence allegedly showing that UBS and Highland Capital had a prior course Jf
                     .                         .              .                                       ..                     .         I
        conduct in which UBS permitted Highland Capiial to settle trades "at its fund level." (D~.'s

                                                                                                                                     JI
                                                                                                             .                         I


        Findings, ~~ 80-81.) Parol evidence of course of conduct is not admissible to construe
                                 .                             ....
        unambiguous contract. (See ~                Sigismondi v Oueens Transit Corp., 38 AD2d 71, 73 [2d Dept
             .                   .                                                             .!
        1971], affd no opinion 32 NY2d 745 [I 97:i]; Evans v Famous Music Corp., I NY3d 452, 459

        [2004].).                          '.                          .'                            '.                              . \

                         The court further notes that even if Highland Capital could recover on its counterclaim,

        the damages ii seeks are not rec~verable. Highland Capital seeks a finding that because tt

        CLOs continued to perform until maturity, "it would have profited $46 million" if it had '~een

        permitted to exercise its rightof first refusal to purchase the CLOs. (Ds.'s Findings, ~ 82; iDX

        Demo. 9.) As Highland ~apital ackno~ledges, however, the market value of the CLOs at ~he

        time of breach was. $1,934,214. (DX. Demo. 9.) The'measure
                                                       ..
                                                                   of damages, as explained a80ve
                                                                                              !
                                                                                                  in

        connedion with Highland Capiial's claim for offsets against UBS's'damages,                               is the markel value
                            . .                                                               '.                     .                     1
        of the assets as ofthe date of breach, not the increase in their value in the indefinite future.

                         Offset for Unjust Enrichment
                                                          .
                         Highland Capital also seeks judgment on its second counterclaim alleging that UBS was
                                                                                                                                     . I
                                           .                                     '.                                                        I
                          . '.                                 .            ..   .                                                         I
        unjustly enriched by its failure to permit Highland 'Capital, through its affiliate CLO Value Fund,
                                                                                      .                                  .                 I
        to purchase the Collateral Obligations upon termination. This claim for unjust enrichment is not
                 .                   .                                                    .                                                I
       'maintainable as the right to purchase is governed by contract-the                           CWA. (See generally Pappas
                                                                                                                                 .         I
        v Tzolis, 20 NY3d 228, 234 [2012], rearg denied 20 NY3d 1075 [2013]; Clark-Fitzpatrick, Inc. v
                                                                                                                                               !
        Long Is. R.R. Co., 70 NY2d 382, 388-389 [1987].)
                                                                                                                                               I
                                     \                                                                                                         I
                         Offset for Settlements with Highland Affiliates

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                                                                   37 of 40

                                                                                                                                      Appx. 00059
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                    Page 39 of 41 PageID 8641
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FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
                                        04:03 PM
                                              PM                                                                  I NO.
                                                                                                                INDEX
                                                                                                                INDEX NO. 650097/2009
                                                                                                                          650097/2009
NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                                                   i
                                                                                                         RECEIVED NYSCEF:
                                                                                                         RECEIVED NYSCEF: 09/14/2020
                                                                                                                          11/14/2019


                                                                                                                      II
             " Highland also requests an offset for settlements with three Highland Affiliates-" Highland"

        Credit Strategies Master Fund, L.P. (Credit Strategies), Highland Crusader Offshore partlers,
                                                                                     "                                I "
        L.P. (Crusader Offshore), and Highland Crusader Holding Corporation (Crusader Holding)
                  "                                " "                                ""                              I
        (collectively, the Settling Highland Affiliates). Credit Strategies and Crusader Offshore tere

        de"fendants in this action. UBS asserted its fraudlile~t conveyance cause of action against them
                               "   "                        ""."                                     .    .            1.
        as'wellas all of the other defendants. (Second Am Compl., Fifth Cause of Action.) Crusrder

        Holding was a defendant in a separate complaint, .which asserted a fraudulent conveyanc~ cause
                                                                                                                          I

        of action against it.(!1BS         Secs. LLC v Highland Crusader Holding Com., Sup Ct, NY CL~ty,

        Inde"xNo. 652646/1 I, Com pI., First Calise of Action; PS.'s Letters, dated July 21, 2015                         I
            " "                                "                                     ".                                   I
        [NYSCEF Doc. No. 397]; Jan. 7,2016 [NYSCEF Doc. No. 398].) This court bifurcated the trial"
                                                               . "                                        .                I              "
        of this action, directing that it would first hold a bench trial on the breach of contract claims,
                       .               .             "                 .                       "                           \ .

        which were triable by the court and are the subject of this decision, and that the fraudulent
                                                                                                                              I "
                                                                                                                              I
       . conveyance and other claims, which are triable by a jury, would be heard subsequently. (¥ay 1,

        2018 Decision on the Record [NYSCEF Doc. No. 494].)                                                                   I
        "       The parties dispute whether the confidential settlements (DX 76 id and DX 77 id) ~ay be

        considered in this action. "TheY'also dispute whether the settlements may be offset, pur~uaht to

        statute or case law, against the damages awarded by this decision to UBS against the Fund

        Counterparties on the breach of contract causes of action. (See PS.'s Post-Trial Memo., at 14-21;
                           "                                               '.                                                     I
      " Ds.'s Post-Tri~l Memo., at 15-19, 21-24.)                                          .                                      I
               Even assuming, without dec"iding, that the damages may be subject to offset by the \

        settlements, the determination of whet"her or to what extent the offset should be allowed mJst
                                                                   .            ".                                                I

        await determinati'on of the jUry trial. Where an offset for a settlement is sought~ '''the dama~es

                                                                                                                                  I
                                               .   "                                  "I
        against which the settlement is sought to be applied should be determined so a proper

        comparison can be made between them and the damages covered by the settlement."                         (Carter v.
                                                                                                                                  I
                                                             38                                                                   I
                                                           38 of 40
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                                                                                                                     Appx. 00060
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                            Page 40 of 41 PageID 8642
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                                                                                                                          INDEX NO. 650097/2009
                                                                                                                                    650097/2009
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
                                        04:03 PM
                                              PM                                                                          INDEX
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                                                                                                                                NO.
NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                                                 RECEIVED NYSCEF:
                                                                                                                    RECEIVED NYSCEF: 09/14/2020
                                                                                                                                     11/14/2019
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           State of New York, 139 Misc 2d 423, 429 [Ct Cl, 1988], affd 154A02d 642 [2d Oept 1~89];
                                                                                                                               I
      .                                                                                           .'                           I
          . accord Moller v North Shore Univ. Hosp., 12 F3d 13, 16 [2d Cir 1993] [applying New York
                                              .'                                                                               I
           law].)                                      '"              .                                   .                   \

                      Here, Highland argues that the causes of action against the settling defendants arJ

           "wholly derivative of its breach-of-contract claims against the Fund counterparties."                          (oJ.,s Post-
                        .                                                      .       . ..                                        I
           Trial Memo., at 16.) UBS persuasively argues, in opposition, that the fraudulent conveyJoce
           .                 '.                                                    .                           '.                  I
           causes of action seek relief in addition to compens.atory damages, including imposition of a
                                      .            .                               .                                               I,
           constructive trust and punitive damages. (Ps,'s Post-Trial Memo, at 22-24; Second Am. ~ompl.,

          at 57-58.) Moreover, the damages, if any, that will be awarded against the Fund Counte~arties
                                  .                                                                                                 I               .
           and Highland Capital on the frauduleni conveyance cause of action remain to be determirted at

           the jury trial. On this rec~rd the court accordingly cannot compare the settlements with tL                                          .
                                                                                                                                    I

                                                                                                                                    I               .
          fraudulent conveyance damages .. Nor is there any basis for the court to determine the extent to
                                                                                                                                        I
                                                                   .                                                       .            I
          which the settlements cover the same damages, or damages that overlap with, the breach df .

          contract damages awarded to                   vas   against the Fund Counterparties by this decision. The                     I
                                                                                                  ..
          determination of the offset issue will therefore be deferred pending the jury trial: As it apr1ears,
                                                                                                                                        I
                                          .                                .                  .        •                                I
               ..                                                                      .                                                I
          however, that Highland may be entitled to an offset for some or all of the settlement amounts, the

          'court will stay enforcem'ent,'to the extent of the settlement amount ($70.5 million), of the

          judgment to be awarded to VBS against the Fund Counterparties for the damages for breach of

          contract.

                    Conclusion

                    vas
                            ..                                '.
                            is entitled to damages for $519,374,149 on th~ third and fourth causes of actioh
                                                                                                                                            I.
          against the .Fund
                       .    .
                             Counterparties for breach of the Cash Warehouse
                                                                   .
                                                                             and Synthetic Warehouse'I

          .Agreements. Enforcement of the judgment for this amount will be stayed up to $70.5 milli~\,n,

          the amount of the settlements with the Settling Highland Affiliates.

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                                                                                                                                            I
                                                                           39 of 40                                                         I
                                                                                                                               Appx. 00061
     Case 3:21-cv-00881-X Document 138-3 Filed 07/14/23                                    Page 41 of 41 PageID 8643
FILED: NEW
FILED: NEW YORK
           YORK COUNTY
                COUNTY CLERK
                       CLERK 09/14/2020
                             11/14/2019 06:00
                                        04:03 PM
                                              PM                                                              INDEX NO.
                                                                                                              INDEX NO. 650097/2009
                                                                                                                        650097/2009
NYSCEF DOC.
NYSCEF DOC. NO.
            NO. 650
                641                                                                                  RECEIVED NYSCEF:
                                                                                                     RECEIVED NYSCEF: 09/14/2020
                                                                                                                      11/14/2019




                  ORDER

                  It is hereby ORDERED that the paTties shall meet and confer with a view to reaching

         agreement on the form of the judgment, 'including but not limited to the Allocation Percentages

         ofCDO Fund and SOHC, and the award of interes!. [fthe parties are unable to reach such

         agreement, they shall promptly settle jtidgJ:llent; and it is further

                  ORDERED that this decision shall be filed under seal for ten business days from the date

         hereof to afford the parties the opportunity to confer and to advise the court as to whether there is

         any information in the decision which is claimed by any party to be confidential.                 The parties

        shall, within five business days of the date hereof, submit ajoint letter of no more than three

        pages, advising the court of their positions on this iss~e, The letter should be accompanied by a

        joint copy of the decision, highlighting the portiones) of the decision which each party claims is

        confidential and should be redacted in the decision that 'Yill be publicly filed; and it is,funher

                 ORDERED that the parti"s shall telephone the court on a conference call within five

        business days of the date hereof (at a specific date and time to be ananged with the Clerk of Part

        60) to discuss the above confidentiality issue as well as the jury trial phase.of this action, The

        parties should be prepared to address whether, or to what extent, the jury trial may proceed in

        light of Highhind Capital's filing of a banj<.ruptcypetition,22

                 This constitutes the decision and order of the court,

        Dated: New York, New York
               November 14, 2019




        22 By letter dated October 17, 2019'(NYSCEF      Doc, No. 640), counsel (Reid Collins & Tsai LLP) for Highland
        Capital, the Fund Counterparties and other Highland defendants, advised the court of Highland Capital's bankruptcy
        filing, and represented that the automatic stay does not preclude decision of the causes of action against the Fund
        Counterparties or the counterclaim by Highland Capital. This letter sought to reserve defendants' position on the
        effect of the bankruptcy filing on subsequent proceedings in' this action,                                .

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                                                               40 of 40

                                                                                                                 Appx. 00062
